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                 EXHIBIT 1
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ARIZONA SUPERIOR COURT, PIMA COUNTY

HON. K ELLIE JOHNSON                                                            CASE NO.            C127867

                                                                                DATE:               September 22, 2022

PLANNED PARENTHOOD CENTER OF TUCSON, INC;
PLANNED PARENTHOOD OF ARIZONA, et al
    Plaintiffs

vs,

MARK BRNOVICH, Attorney General of the State of
Arizona, et al
      Defendants


                                            UNDER ADVISEMENT RULING

UNDER ADVISEMENT RULING: ATTORNEY GENERAL'S MOTION TO SUBSTITUTE DR. ERIC
HAZELRIGG AS INTERVENOR AND GUARDIAN AD LITEM AND ATTONREY GENERAL'S
MOTION FOR RELIEF FROM JUDGMENT

           Pending before the Court and fully briefed are the Attorney General's Motion to Substitute Dr. Eric

Hazelrigg as Intervenor and Guardian ad Litern and Motion for Relief from Judgment. Also pending if the

Motion to Substitute is denied is Dr. Eric Hazelrigg's and Choice Pregnancy Center's Motion to Intervene. The

Court has read the briefing submitted and considered the arguments of counsel made at the August 19, 2022.

hearing. For the reasons set forth below, the Court grants the Motion to Substitute and the Motion for Relief

from Judgment.

FACTS AND PROCEDURAL HISTORY

           On July 22, 1971, Planned Parenthood Center of Tucson Inc.', 10 physicians,2 and "Jane Doe," an

anonymous pregnant woman who sought to have an abortion, filed the Complaint in this matter. The Complaint


  The parties agreed to substitute Planned Parenthood Arizona, Inc. as the Plaintiff in this matter due to corporate mergers resulting in
a new corporate identity.
2At the hearing on August 19, 2022, the deaths of original Plaintiffs Pollock, McEvers, Costin, Lilien, Brunsting and Trisier were
noted on the record. Plaintiffs Bloomfield, Rafael, and Edelberg have filed no responses after service of the motions.

                                                                                         R. Lee
                                                                                         Judicial Administrative Assistant
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named the Arizona Attorney General and the Pima County Attorney as Defendants and asked the Court to

declare then A.R.S. §§13-211-213 unconstitutional under both the Arizona and United States Constitutions.

The Complaint also asked the Court to enter a permanent injunction against the Defendants enjoining them from

enforcing or threatening to enforce the specified statutes.

         In October 1971, the Court appointed Dr. Clifton Bloo.m as guardian ad litem for the unborn child of

Jane Roe3 and "all other unborn infants similarly situated." After the Court appointed Dr. Bloom as guardian ad

'item, the parties stipulated to Dr. Bloom's intervention. Although 'Plaintiffs stipulated to allow intervention,

Plaintiffs reserved objections to Dr. Bloom's appointment and reserved the right to move to terminate his

intervention later. It is unclear whether the Court allowed intervention as permissive or as of right. Dr. Bloom

participated as Intervenor and remained a party until the case concluded. Plaintiffs never sought to terminate

intervention and did not raise any issue regarding the appointment and intervention on appeal. Dr. Bloom is

now deceased.

         The case proceeded to trial in 1971. Initially, the trial judge dismissed the case for lack of a justiciable

controversy. The Court of Appeals reversed that ruling and ordered the trial judge to decide the case on the

merits. See, Planned Parent Ctr, Of Tucson v. Marks, 17 Ariz. App. 308, 313 (1972). On September 29, 1972,

the trial judge found the statutes at issue unconstitutional. The Attorney General, Pima County Attorney, and

Intervenor appealed the ruling. The Court of Appeals reversed the trial judge and upheld the challenged laws as

constitutional. See, Nelson v. Planned Parenthood dr. of Tucson Inc., 19 Ariz. App. 142 (1973).

         Less than 3 weeks later, the United States Supreme Court decided Roe v. Wade, 410 U.S. 113 (1973),

and Doe v. Bolton, 410 U.S. 179 (1973). On rehearing, the Court of Appeals vacated its opinion on the sole and

express grounds of the binding nature of the United States Supreme Court decisions. After further appellate

review was denied, the trial judge, as required by the Court of Appeals' mandate, entered judgement declaring




                                                                             R. Lee
                                                                             Judicial Administrative Assistant
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the statutes unconstitutional. The judgement also permanently enjoinecl the Attorney General, the Pima County

Attorney, and ail successors, agents, servants, employees, attorneys, and ail persons in active concert or

participation with them, from taking any action or threatening to take any action to enforce the provisions of the

challenged statutes.

         In the almost ftfty years since the trial judge entered judgment, the Arizona Legislature bas passed

several statutes conceming abortion. In 1977, the Legislature re-enacted A.R.S. §§13-211-213 as §§13-3603-

3605. in 2021, the Legislature repealed §13-3604, but left intact §13-3603, which criminalizes abordons except

to save the life of a pregnant woman. Most recently in 2022, the Legislature enacted a 15-week gestational age

limitation on abortion. The legislature expressly ineluded in the session law that the 15-week gestational age

limitation does not                 by implication or otherwise, section §13-3603 Arizona Revised Statutes, or any

other applicable state law regulating or restricting abortion." 2022 Ariz. Sess, Laws ch. 105, §2 (2d Reg. Sess.).

         On June 24, 2022, the United States Supreme Court overruled Roe y. Wade in Dobbs y. Jackson

Womenfs Ilealth Org, 142 S. Ct. 2228 (2022). The Supreme Court held that the Constitution does flot confer a

right to abortion, and that "the authority to regulate abortion must be returned to the people and their elected

representatives." Dobbs, 142. S. Ci. at 2279. The Attorney Generars motions for substitution and for Rule

60(b)(5) relief followed the Dobbs decision.

LEGAL ANALYSIS
    L Motion to Substitute Dr. Eric Hazelrigg

    The Attorney General asks the Court to appoint Dr. Eric Hazelrigg in the place of now deceased Dr. Bloom

as guardian ad litem, and to substitute Dr. Hazelrigg as Intervenor Linder Ariz. R. Civ. P. 25( )(1). Planned

Parenthood opposes the request but did flot object to Dr. Hazelrigg's participation in the briefing and argument




3 Prier te trial, the original Plaintiff brie Doe had an abortion out of state and was dismissed from the case. The Court substituted Jane
Roc as Plaintiff. Jane Roe also had an abortion out of state and was dismissecl frein the case prier to trial.

                                                                                          R. Lee
                                                                                          Judicial Administrative Assistant
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on the Motion for Relief From Judgment. The Pima County Attorney takes no position on the Motion to

Substitute.

    In support of his request for substitution, the Attorney General argues that the Court, by previously

appointing Dr. Bloom as guardian ad litem and then permitting his intervention, found intervention to be

appropriate. The Attorney General argues that based on this previous finding, it is appropriate to allow an

intervenor to continue in the role previously permitted. Planned Parenthood argues that it was improper to

appoint a guardian fifty years ago, and that the Court should not permit the error to continue by allowing the

substitution now.

   The Court agrees with Planned Parenthood that the record is unclear as to why the Court determined

intervention was appropriate. However, the parties stipulated to Dr. Bloom's intervention "without waiving any

right to subsequent motions to quash the appointment of Clifton Bloom as guardian ad litem... and motions to

terminate the intervention of the said guardian ad litem." Minute Eniry Oclober 15, 1971. No party, including

Planned Parenthood, ever moved to quash Dr. Bloom's appointment or terminate his intervention. Instead, Dr.

Bloom, represented by counsel, was permitted to participate as Intervenor through trial and two appellate

processes. Dr. Bloom remained a party in intervention in 1973 when the Court entered the judgement from

which the Attorney General now seeks relief.

   Planned Parenthood makes several arguments in support of its position that appointment of a guardian ad

litem was inappropriate during the original proceedings and remains inappropriate today. The Attorney General

argues Planned Parenthood has waived their objections by never moving to terminate or otherwise challenge the

intervention. The Attorney General also cites the law of the case doctrine as a basis for why the Court should

not revisit the previous decision on intervention.

    The Court agrees Planned Parenthood's objections are waived, or, under the law of the case doctrine, should

not be reconsidered in the context of the Attorney General's Motion for Relief From Judgment. Planned

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                                                                        Judicial Administrative Assistant
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Parenthood had multiple opportunities to challenge intervention during the initial proceedings at the trial and

appellate levels. By allowing the matter to proceed to final judgment and appeal without challenging

intervention, Planned Parenthood waived any objections it previously preserved.

   Additionally, under the law of the case doctrine, "a court acts within its discretion in 'refusing to reopen

questions previously decided in the same case by the same court or a higher appellate court' unless an error in

the first decision renders it manifestly erroneous or unjust or when a substantial change occurs in essential facts

or issues, in evidence, or in the applicable law.'" See, Associated Aviation Underwriters v. Wood, 209 Ariz.

137, 150-51, 140 (App. 2004), (quoting Slate v. Wilson, 207 Ariz. 12 19 (App. 2004)). Planned Parenthood has

not demonstrated that the original decision permitting intervention was "manifestly erroneous or unjust." While

the Court recognizes there may be procedural irregularities surrounding the previous decision to permit

intervention, it declines to address the merits of the issue given the procedural posture of the case, Additionally,

the Court finds permitting continued intervention is not prejudicial to Planned Parenthood.

    I. Motion for Relief from Judgment

   Ariz. R. Civ. P. 60(b)(5) allows the Court to relieve a party from a final judgment if "applying it

prospectively is no longer equitable." Rule 60(b)(5) relief is appropriate when "the party seeking relief from an

injunction can show a significant change either in factual conditions or in law." Agostini v. Felton, 521 U.S.

203, 215 (1997). In determining whether relief under Rule 60(b)(5) is appropriate, "a court may recognize

subsequent changes in either statutory or decisional law." Id.

   The parties do not dispute that relief is appropriate under Rule 60(b)(5). Planned Parenthood agrees that

Dobbs resulted in a significant change in the law and agrees that it is not equitable to enforce the judgment as

originally entered. The parties disagree on the scope of the relief that should be granted. The Attorney General

argues that the judgment should be vacated entirely because it was based solely on Roe which has been

overruled. Planned Parenthood argues that fully vacating the judgment fails to acknowledge statutes which the

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                                                                            Judicial Administrative Assistant
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Legislature passed over the last five decades, will create conflicts in Arizona law concerning abortion, and is

inequitable given the harms at stake. Planned Parenthood argues the Court "has a duty to harmonize all of the

Arizona Legislature's enactments as they exist today," and asks the Court to issue a modified injunction to

"make clear that A.R.S §13-3603 can be enforceable in some respects but does not apply to abortions provided

by licensed physicians under the regulatory scheme the Legislature enacted over the last 50 years." The Pima

County Attorney joins in Planned Parenthood's request for a modified injunction.

   The Attorney General argues that this Court's inquiry tinder Rule 60(b)(5) is narrow, and that the rule does

not permit the Court to undertake the statutory analysis suggested by Planned Parenthood. Additionally, the

Attorney General argues that Planned Parenthood's request for the Court to harmonize the laws and enter a

modified injunction based on statutes enacted after the entry of the judgment is procedurally flawed. The Court

agrees with the Attorney General's arguments.

   The controlling Complaint seeks relief solely on constitutional grounds. The judgment entered in 1.973 was

based solely on those constitutional grounds. The Court finds modifying the injunction to harmonize laws not in

existence when the Complaint was filed, on grounds for relief not set forth in the Complaint, is procedurally

improper in the context of a Rule 60 (b)(5) motion. As discussed in the Attorney General's briefs, Planned

Parenthood may move to amend its Complaint after relief is granted, or may file a new action to seek relief it

believes appropriate.

   Additionally, the requested modified injunction which would carve out an exception for physicians, is not

consistent with the plain language of A.R.S. §13-3603 which contains no such exception. Significantly, when

passing laws concerning abortion when Roe v. Wade was law, the Legislature repeatedly disclaimed that the

statutes it enacted were creating a right to abortion. See, e.g., Attorney General's Reply to Planned

Parenthood's Opposition to Motion for Relief From Judgment page 6. lines 6-25. Similarly, when enacting the




                                                                         R. Lee
                                                                         Judicial Administrative Assistant
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15- week law. the Legislature specifically stated the statute did not repeal A.R.S. §13-3603. See, 2022 Ariz.

Sess. Laws ch. 105 § 2 (2d Reg. Sess.).

    Planned Parenthood urges the Court to consider other equitable factors in its decision. While the Court has

considered those factors, the Court finds those factors do not make considering or entering the modified

injunction procedurally or legally appropriate. The Court finds that because the legal basis for the judgment

entered in 1973 has now been overruled, it must vacate the judgment in its entirety. The Court finds an attempt

to reconcile fifty years of legislative activity procedurally improper in the context of the motion and record

before it. While there may be legal questions the parties seek to resolve regarding Arizona statutes on abortion,

those questions are not for this Court to decide here.

   Accordingly,

   IT IS ORDERED the Attorney General's Motion to Substitute Dr. Eric Hazelrigg as guardian ad !item and
intervenor is GRANTED.
   IT IS FURTHER ORDERED that Eric Hazelrigg, M.D. is substituted for Clifton E Bloom as Intervenor
and guardian ad litem for all unborn children.
    IT IS FURTHER ORDERED Dr. Hazelrigg's Motion for Intervention is DENIED AS MOOT,
   IT IS FURTHER ORDERED the Attorney General's Motion thr Relief from Judgment is GRANTED.
    IT IS FURTHER ORDERED that the Second Amended Declaratory Judgment and Injunction signed by
the Court on March 27, 1973, and filed on or about the same date, no longer has any prospective application as
to A.R.S. § 13-3603.
    IT IS FURTHER OREDERED that no matters remain pending, and this ruling is entered as a final
judgment under Ariz. R. Civ. P. 54 (c).




                                                                                                           is/
                                                              HON. KELL JOHNSON
                                                            (I) I ar4b254-274c45ce-a977-80287hc82a23)


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                                                                              Judicial Administrative Assistant
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Paoe                                   Date: September 22, 2022                    Case No.: C127867


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                                                                  Judicial Administrative Assistant
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                  EXHIBIT 2
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16
                                    ARIZONA SUPERIOR COURT
17
                                           PIMA COUNTY
18
     PLANNED PARENTHOOD ARIZONA,                     )   No. C127867
19   INC., et al.,                                   )
                                                     )   PLANNED PARENTHOOD ARIZONA,
20                        Plaintiffs,
                                                     )   INC.,’S EMERGENCY MOTION FOR
21   v.                                              )   STAY OF ORDER PENDING APPEAL
     MARK BRNOVICH, Attorney General of the          )
22   State of Arizona, et al.,                       )   (EXPEDITED CONSIDERATION
23                                                   )   REQUESTED)
                          Defendants,
                                                     )
24                                                       (Assigned to the Hon. Kellie Johnson)
25
26

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1    and                                                 )
                                                         )
2    ERIC HAZELRIGG, M.D., as guardian ad                )
     litem of unborn child of plaintiff Jane Roe and     )
3    all other unborn infants similarly situation,       )
4                          Intervenor.                   )
                                                         )
5                                                        )
                                                         )
6
7           Under Ariz. R. Civ. P. 62(e), Plaintiff Planned Parenthood Arizona, Inc. (“PPAZ”) moves
8    that this Court stay its September 23, 2022 Order modifying the Second Amended Declaratory
9    Judgment and Injunction so that it no longer has any prospective application to A.R.S. § 13-
10   3603, pending the outcome of PPAZ’s appeal.
11          Rule 62(e), Ariz. R. Civ. P., states that, “[w]hile an appeal is pending from an
12   interlocutory order or final judgment that grants, continues, modifies, refuses, dissolves, or
13   refuses to dissolve or modify an injunction, the court may suspend, modify, restore, or grant an
14   injunction on such terms for bond, security, or otherwise that preserve the adverse party’s rights.”
15   Indeed, Rule 62(e), “allows the trial court to issue a stay that postpones the effect of the granting,
16   dissolution, or modification of the injunction.” State ex rel. Corbin v. Tolleson, 152 Ariz. 376,
17   378 (App. 1986) (emphasis omitted). Further, “[t]he trial court may make the orders necessary
18   to preserve the status quo during the appeal and to protect the unsuccessful party from any
19   irreparable harm that would occur from enforcing the ruling on the injunction.” Id.
20          A stay pending appeal is appropriate when the moving party establishes:
21          1.     A strong likelihood of success on the merits;
22          2.     Irreparable harm if the stay is not granted;
23          3.     That the harm to the requesting party outweighs the harm to the party
                   opposing the stay; and
24
            4.     That public policy favors the granting of the stay.
25
26

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1    Smith v. Ariz. Citizens Clean Elections Comm’n, 212 Ariz. 407, 410 ¶ 10 (2006) (en banc)
2    (citations omitted). “The scale is not absolute, but sliding. Nor should the result turn on counting
3    the factors that weigh on each side of the balance.” Id. at 410–11 ¶ 10. “Rather, the moving party
4    may establish either 1) probable success on the merits and the possibility of irreparable injury;
5    or 2) the presence of serious questions and that the balance of hardships tips sharply in favor of
6    the moving party.” Id. (emphasis added) (cleaned up). PPAZ meets either standard.
7           Notably, to satisfy the second standard, the Court does not have to agree that PPAZ is
8    likely to succeed on the merits of its request for a modified injunction harmonizing § 13-3603
9    with Arizona’s other abortion-regulating laws in order to find that a stay is appropriate. Instead,
10   it is enough that PPAZ proved there are serious questions regarding the proper scope of a
11   statutory analysis under Rule 60(b) and the interaction among § 13-3603, the 15-Week Law, and
12   Arizona’s other abortion statutes. Indeed, both parties submitted multiple rounds of briefing on
13   the complex legal issues presented by AG Brnovich’s request to modify the Second Amended
14   Judgment in this case. And that makes sense, given the complicated procedural posture, the
15   intricate issues of statutory interpretation, and the extraordinarily unique historical and social
16   circumstances surrounding the AG’s request.
17          In particular, citing Agostini v. Felton, 521 U.S. 203, 215 (1997), both parties agree that
18   this Court has the authority to consider whether there has been a “significant change either in
19   factual conditions or in law” since the final judgment was entered nearly 50 years ago. Att’y
20   Gen’s Mot. for Relief from J. (“AG Mot.”) at 8; see also id. (acknowledging that “[u]nder Rule
21   60(b)(5), ‘[a] court may recognize subsequent changes in either statutory or decisional law.’”
22   (quoting Agostini, 521 U.S. at 215)). And both parties agree that the “U.S. Supreme Court has
23   even rejected the notion that Rule 60(b)(5) does not apply where a movant uses it ‘not as a means
24   of recognizing changes in the law, but as a vehicle for effecting them.’” AG Mot. at 9 (quoting
25   Agostini, 521 U.S. at 238 (emphasis in original)). Plaintiffs also cited case law explaining that:
26   (1) Rule 60(b) has a “flexible standard,” PPAZ’s Resp. to Defs.’ R. 60(b) Mot. for Relief from

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1    J. at 14–15 (quoting Bredfeldt v. Greene, No. 2 CA-CV 2016-0198, 2017 WL 6422341, at *3 ¶
2    10 (Ariz. App. Dec. 18, 2017) (quotation omitted)); and, (2) “in deciding whether Rule 60 relief
3    is warranted, the superior court must consider the totality of facts and circumstances, and,
4    therefore, is afforded extensive discretion in deciding whether relief is appropriate,” PPAZ’s
5    Resp. to Dr. Hazelrigg & Choices Pregnancy Ctrs.’ Proposed Reply in Supp. of Att’y Gen.’s
6    Mot. for Relief from J. at 2–3 (quoting AOW Mgmt. LLC v. Scythia Sols. LLC, No. 1 CA-CV 20-
7    0699, 2022 WL 2813523, at *7 ¶ 36 (Ariz. App. July 19, 2022) (emphasis added) (cleaned up)).
8           Plaintiffs have thus presented, at minimum, a serious question as to whether this Court,
9    in deciding the AG’s Motion, can consider the comprehensive statutory changes to Arizona law
10   that have evolved over the past 50 years—including a law allowing abortions no greater than 15
11   weeks that became law just days ago—and issue a modified judgment that effects those changes.
12   Moreover, it can hardly be disputed that a serious question exists over how Arizona’s laws
13   interact. See Order at 7. (“[T]here may be questions the parties seek to resolve regarding Arizona
14   statutes[.]”). Indeed, within hours of the Court’s decision, Governor Doug Ducey stated that “as
15   far as [he] is concerned, [the 15-week Law] takes effect as scheduled Saturday,” September 24. 1
16   And as Plaintiffs have pointed out in prior briefing, immediately after the U.S. Supreme Court
17   issued the Dobbs decision, AG Brnovich himself said “[t]he Arizona Legislature passed an
18   identical law to the one upheld in Dobbs, which will take effect in approximately 90 days,”2
19   before reversing course and filing the motion to modify the judgment.
20          In addition, the balance of hardships also tips sharply in favor of PPAZ (and Arizonans
21   more broadly) and weighs in favor of a stay. The health and safety of Arizonans will be
22   compromised if § 13-3603 remains enforceable against physicians who perform abortions while
23   1
       Howard Fischer, Virtually all abortions in Arizona are now illegal, judge rules, Tucson.com
24   (September 23, 2022), https://tucson.com/news/local/virtually-all-abortions-in-arizona-are-
     now-illegal-judge-rules/article_4591db6c-3b93-11ed-9c3a-13031cb22643.html.
25   2
       Ariz. Att’y Gen., Arizona Attorney General Mark Brnovich Applauds Supreme Court Decision
26   to Protect Life (June 24, 2022), https://www.azag.gov/press-release/arizona-attorney-general-
     mark-brnovich-applauds-supreme-court-decision-protect-life.
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1    PPAZ appeals this Court’s decision. As Plaintiffs predicted in briefing and argument, it is now
2    unclear how § 13-3603 interacts with Arizona’s other abortion laws. While the Governor
3    maintains that S.B. 1164, which he signed earlier this year, allows abortions to be performed
4    within the 15-week limit set in that law, supra note 1, the Attorney General has intimated that
5    under the Court’s ruling, § 13-3603 takes precedence over the 15-week limit. 3 As a result, PPAZ
6    and other abortion providers throughout the state will be forced to steer away from providing
7    abortions that are permissible under the clear language of the 15-week Law and the stated
8    legislative intent. S.B. 1164, 55th Leg., 2nd Reg. Sess. (Ariz. 2022) (“This Legislature intends
9    through this act and any rules and policies adopted hereunder, to restrict the practice of
10   nontherapeutic or elective abortion to the period up to fifteen weeks of gestation.”). This
11   confusion is untenable and creates serious due process concerns. See Pima Cnty. Att’y’s Joinder
12   in PPAZ’s Resp. to Att’y Gen.’s Mot. for Relief from J. at 3 (“The lifting of the current
13   injunction, without the necessary modification to harmonize with the Legislature’s subsequently
14   enacted and less restrictive statutory scheme, will deny Arizonans of ordinary intelligence a
15   reasonable opportunity to know what is prohibited[.]”).
16         Significantly, the lack of clarity regarding abortion law extends to how § 13-3603’s “life
17   of the mother” exception relates to the contours of and emergency exceptions found in Arizona’s
18   other abortion laws. For example, the resurrection of § 13-3603 and its supposed coexistence
19   with Arizona’s other abortion statutes—now including S.B. 1164 as of this past Saturday—
20   means that Arizona law allows abortion to save the life of the pregnant person (§ 13-3603), but
21   it also requires a 24-hour waiting period pending the provision of certain information to the
22   patient (A.R.S. § 36-2153 et seq. (2009)). The 24-hour waiting period law contains exceptions
23   for specifically-defined “medical emergencies,” A.R.S. § 36-2151, but that definition is not
24   identical to § 13-3603’s life exception. Compare A.R.S. § 13-3603 (“ . . . unless necessary to
25   3
         Mark Brnovich (@GeneralBrnovich), Twitter (Sept. 23, 2022, 3:45 PM),
26   https://twitter.com/GeneralBrnovich/status/1573443589509910528?s=20&t=ctSGQLMBuCT
     MIXCcbeHpPw.
                                                -4-
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1    save [the patient’s] life”) with A.R.S. § 36-2151 (“‘Medical emergency’ means a condition that,
2    on the basis of the physician’s good faith clinical judgment, so complicates the medical condition
3    of a pregnant woman as to necessitate the immediate abortion of her pregnancy to avert her death
4    or for which a delay will create serious risk of substantial and irreversible impairment of a major
5    bodily function.” (emphasis added)).
6           Confusion on the scope of these exceptions seemingly at odds with one another could
7    lead to doctors hesitating to treat patients in dire medical situations. And this is not just a
8    hypothetical concern. The conflicting messages from state officials earlier this summer in the
9    wake of the Dobbs decision caused providers to hesitate before providing care, which will be the
10   case once again. 4 The absence of a stay will deprive many pregnant Arizonans of health care
11   they require for an indeterminate period of time, while this case makes its way through the
12   appellate process.
13          Further, the AG cannot establish that a stay will cause any injury to the State. This is
14   unsurprising because there will be no harm to the State if harm to its citizens is avoided while
15   the case proceeds on appeal. In fact, the opposite is true: the Court’s order creates confusion over
16   the meaning of Arizona’s laws and has the practical effect of nullifying dozens of duly enacted
17   laws that were passed more recently and deal more specifically with the subject matter, including
18   the 15-week Law that the Governor maintains should be the law of the land today. Cf. Abbott v.
19   Perez, __ U.S. __, 138 S. Ct. 2305, 2324 n.17 (2018) (“[I]nability to enforce its duly enacted
20   plans clearly inflicts irreparable harm on the State.”).
21
     4
       See Kate Zernike, Medical Impact of Roe Reversal Goes Well Beyond Abortion Clinics,
22   Doctors Say, N.Y. Times (Sept. 10, 2022), https://www.nytimes.com/2022/09/10/us/abortion-
23   bans-medical-care-women.html (“Because [Arizona’s] old law punishes those who ‘aid and
     abet’ an abortion, an anesthesiologist worried that he might be prosecuted for putting a patient
24   to sleep for an abortion. A neonatologist worried about liability for declining to resuscitate a
     fetus judged no longer viable. ‘We already work under a cloud of getting sued. That’s what we
25
     signed up for,’ [Scottsdale obstetrician] Dr. Kwatra said. ‘This is different. This is criminal
26   liability, not civil liability. This is jail time.’”).

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1           For all these reasons, Plaintiff PPAZ has established the presence of serious questions
2    and that the balance of hardships tips sharply in its favor. PPAZ thus respectfully requests that
3    this Court stay its September 23 order until the conclusion of PPAZ’s appeal. Given the harm
4    PPAZ, its patients, and the general public will suffer in the absence of a stay, PPAZ also requests
5    that the Court set an expedited briefing schedule with Defendants’ responses due September 27,
6    2022, and PPAZ’s reply to be filed the following day—or rule on the stay motion without
7    awaiting further briefing. A proposed form of order accompanies this Motion.
8           RESPECTFULLY SUBMITTED this 26th day of September, 2022.
9                                               COPPERSMITH BROCKELMAN PLC
10                                              By: /s/ D. Andrew Gaona
                                                        D. Andrew Gaona
11                                                      Kristen Yost
12                                              PLANNED PARENTHOOD FEDERATION OF AMERICA
                                                      Diana O. Salgado*
13
                                                      Sarah Mac Dougall *
14                                                    Catherine Peyton Humphreville*
                                                *Admitted Pro Hac Vice
15
                                                Attorneys for Plaintiff Planned Parenthood Arizona,
16                                              Inc.
17
18   ORIGINAL of the foregoing efiled and
     COPY sent by email on September 26, 2022, to:
19
     The Honorable Kellie Johnson
20   Civil Presiding Judge
     Pima County Superior Court
21   Roxanne Lee, Judicial Assistant
22   rlee@sc.pima.gov

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         Case 2:21-cv-01417-DLR Document 131-2 Filed 09/30/22 Page 18 of 65




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17   /s/ Diana J. Hanson
18
19
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Case 2:21-cv-01417-DLR Document 131-2 Filed 09/30/22 Page 19 of 65




                  EXHIBIT 3
Case 2:21-cv-01417-DLR Document 131-2 Filed 09/30/22 Page 20 of 65
Case 2:21-cv-01417-DLR Document 131-2 Filed 09/30/22 Page 21 of 65




                  EXHIBIT 4
          Case 2:21-cv-01417-DLR Document 131-2 Filed 09/30/22 Page 22 of 65
                                                                                       FILED
                                                                                  Gary Harrison
                                                                              CLERK, SUPERIOR COURT
                                                                                  7/20/2022 10:54:24 AM
                                                                               BY: JAMES R. ORR /S/
                                                                                      DEPUTY

                                                                             Case No. C127867
1    D. Andrew Gaona (028414)                                                 HON. KELLIE JOHNSON

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     successor-in-interest to Plaintiff Planned Parenthood Center
16   of Tucson, Inc.
17
18                                 ARIZONA SUPERIOR COURT

19                                         PIMA COUNTY
     PLANNED PARENTHOOD CENTER OF                    )   No. C127867
20   TUCSON, INC., et al.,                           )
                                                     )   PLANNED PARENTHOOD ARIZONA’S
21                       Plaintiffs,                     RESPONSE TO DEFENDANTS’ RULE
                                                     )
22   v.                                                  60(b) MOTION FOR RELIEF FROM
                                                     )   JUDGMENT
23   MARK BRNOVICH, Attorney General of the          )
     State of Arizona, et al.,                       )   (Assigned to the Hon. Kellie Johnson)
24                                                   )
                         Defendants,
                                                     )
25                                                   )
26                                                   )
           Case 2:21-cv-01417-DLR Document 131-2 Filed 09/30/22 Page 23 of 65




1    and                                              )
                                                      )
2    CLIFTON E. BLOOM, as guardian ad litem of )
     unborn child of plaintiff Jane Roe and all other )
3    unborn infants similarly situation,              )
4                         Intervenor.                 )
                                                      )
5                                                     )

6                                           INTRODUCTION

7           For nearly 50 years, abortion has been legal in Arizona and relied on by pregnant
8    Arizonans and their families to decide whether, when, and how they want to welcome children.
9    It is also the subject of ongoing debate and legislation by Arizonans’ elected representatives who
10   have invested significant time and political capital to pass and modify abortion laws over the last
11   50 years. The result is a complex statutory scheme that regulates the provision of abortion by
12   licensed physicians.
13          Most recently, the Legislature passed, and Governor Ducey signed, a law permitting
14   physicians to provide abortions up until 15 weeks of pregnancy 1 (“15-week Law”), which will
15   take effect September 24, 2022. Unlike other state legislatures around the country that passed
16   “trigger” abortion bans in anticipation of the U.S. Supreme Court’s decision in Dobbs v. Jackson
17   Women’s Health Organization, the Arizona Legislature passed the 15-week Law.
18          Since Dobbs overturned Roe v. Wade, providers in Arizona have been left to navigate
19   inconsistent statements by elected officials about the status of the laws. Specifically, it has been
20   entirely unclear whether state officials—notwithstanding the mosaic of more recent abortion
21   statutes that permit abortion performed by physicians—believe they have the authority to enforce
22   a criminal ban on abortion, which can be traced back to 1864 and is currently codified as
23   A.R.S. § 13-3603 (the “Territorial Law”), to criminalize otherwise legal, physician-provided
24   abortions. For weeks, state officials, including Defendant Attorney General Brnovich (the
25
26   1
      Pregnancy is commonly measured from the first day of a pregnant person’s last menstrual
     period or LMP. A full-term pregnancy is around 40 weeks LMP.
                                                 -1-
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1    “AG”), either refused to state which abortion laws are in effect or gave inconsistent positions on
2    the matter, even though A.R.S. § 13-3603 has been enjoined since 1973. This confusion brought
3    abortion services to a halt across the state.
4             The AG has moved this Court for full relief from the judgment and injunction against
5    A.R.S. § 13-3603 and has asked this Court to “return[] [the law] to what it was prior to
6    Roe”—blatantly ignoring that Arizona’s statutory code today includes dozens of laws that
7    plainly permit physicians to provide abortions. Att’y Gen’s Mot. for Relief from J. (“Mot.”) at
8    10. 2
9             Contrary to the AG’s arguments, this Court has a duty to harmonize all of the Arizona
10   Legislature’s enactments as they exist today. Doing so here would result in a modification of
11   this Court’s judgment to make clear that A.R.S. § 13-3603 can be enforceable in some respects
12   but does not apply to abortions provided by licensed physicians under the regulatory scheme the
13   Legislature enacted over the last 50 years. Indeed, the State will not be harmed if all laws the
14   Legislature enacted are harmonized, rather than granting the AG an undemocratic windfall in
15   the full reanimation of a long-dead law. On the other hand, irreparable harm will befall Arizonans
16   if this Court’s 1973 injunction is modified to allow the State to enforce A.R.S. § 13-3603 in a
17   manner that criminalizes nearly all abortions in the state.
18                                            BACKGROUND
19   I.       The Territorial Law
20            As the State acknowledges, A.R.S. § 13-3603 was first enacted when Arizona was still a
21   U.S. Territory, long before women were allowed to vote. Mot. at 3 n.2. A.R.S. § 13-3603 was
22   formerly codified as § 13-211 and codified in a different part of the code prior to that. In fact,
23   this near total criminal ban on abortion is so antiquated that it can be traced back to 1864 when
24   the 1st Arizona Territorial Legislature enacted the “Howell Code” as a basis for Arizona’s law.
25
26   2
      Among other procedurally improper arguments, the AG has also moved to substitute Dr. Eric
     Hazelrigg as intervenor and guardian ad litem in this case. PPAZ will oppose this motion.
                                                     -2-
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1    The Howell Code, attached as Exhibit A, included a ban on providing abortions that is
2    substantially similar to A.R.S. § 13-3603. A.R.S. § 13-3603 today provides:
3           A person who provides, supplies or administers to a pregnant woman, or procures
            such woman to take any medicine, drugs or substance, or uses or employs any
4
            instrument or other means whatever, with intent thereby to procure the miscarriage
5           of such woman, unless it is necessary to save her life, shall be punished by
            imprisonment in the state prison for not less than two years nor more than five
6           years.
7    A.R.S. § 13-3603, in effect, bans the provision of abortion, except when necessary to save a
8    pregnant person’s life. It does not contain any exceptions to allow abortions in the case of threats
9    to the patient’s health, rape, or incest. A.R.S. § 13-3603 was operative from its passage until
10   enjoined by an Order of this Court in 1973. Ex. A to Mot.
11   II.    Planned Parenthood Center of Tucson, Inc. v. Nelson
12          In 1971, the Planned Parenthood Center of Tucson, Inc.—a predecessor organization to
13   Planned Parenthood Arizona, Inc. (“PPAZ”)—and several medical providers filed suit in Pima
14   County Superior Court, arguing that the Territorial Law 3 violated the Arizona and U.S.
15   Constitutions. Ex. B to Mot. After a bench trial, the trial court agreed with the plaintiffs, entered
16   a declaratory judgment that the Territorial Law violated federal and state law, and permanently
17   enjoined enforcement of the Territorial Law. Ex. C to Mot.
18          The court of appeals disagreed with that conclusion and reversed. Nelson v. Planned
19   Parenthood Ctr. of Tucson, Inc., 19 Ariz. App. 142, 150 (1973). However, ten days later, the
20   U.S. Supreme Court decided Roe v. Wade, 410 U.S. 113 (1973). On January 30, 1973, the court
21   of appeals granted plaintiffs-appellees’ motion for rehearing and held that its “former opinion is
22   vacated.” Nelson, 19 Ariz. App. at 152. It further stated that, based on Roe, “the decision of the
23
24   3
      At issue in the case were two other statutes: A.R.S. § 13-3604 (formerly § 13-212), which
     criminalized soliciting an abortion, and A.R.S. § 13-3605 (formerly § 13-213), which
25
     criminalized advertising abortion and contraception. Neither are at issue here; A.R.S. § 13-3604
26   has been repealed and the AG is not seeking to vacate or modify the injunction as to
     A.R.S. § 13-3605. Mot. at 1 n.1.
                                                  -3-
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1    [Nelson] trial court is affirmed except that part of the decision limiting the effect of the decision
2    to the parties only is modified in that the statutes in question are unconstitutional as to all.” Id.
3    This Court then entered a modified order and permanently enjoined the taking of action or
4    threatening to take action to enforce the Territorial Law as to all persons. Ex. A to Mot.
5    III.    Abortion Laws Enacted Since 1973
6            In the nearly five decades since 1973 (and since Roe), the Legislature has enacted a
7    complex regulatory scheme that recognizes and regulates abortion as a lawful medical procedure
8    in our state. This includes, for example:
9        • A.R.S. § 36-2301.01(A) (1984) (amended 2017) (allowing the performance of an
10           abortion up to viability, meaning approximately 24-weeks, with limited exceptions
11           to “preserve the life or health of the woman” after viability) (the “Post-viability
12           Law”);
13       • A.R.S. § 36-449.01, et seq. (1999) (amended 2021) (requirements for the licensure
14           and operation of abortion facilities, including but not limited to, pre-abortion
15           screening procedures, equipment that must be present in the facility, and
16           procedures to be followed after an abortion is provided) 4;
17       • A.R.S. § 36-2155 (2009) (prohibiting anyone other than a “physician” from
18           performing a “surgical abortion”), A.R.S. § 36-2160 (2021) (stating “[a]n
19           abortion-inducing drug may be provided only by a qualified physician”) (the
20           “Physician-only Laws” 5);
21
     4
        See also A.A.C. R9-10-101(1); A.A.C. R9-10-902(C)(6); A.A.C. R9-10-1501 et seq.
22   (implementing A.R.S. § 36-449.01 et seq.).
23
     5
       There are a collection of statutes and administrative rules that prohibit anyone other than a
     licensed physician from providing abortions and related services (the “Physician-only Laws”).
24   See A.R.S. §§ 32-1606(B)(12) (prohibiting the State Nursing Board from “decid[ing] scope of
25   practice relating to abortion”); 32-2531(B) (prohibiting physician assistants from performing
     “surgical abortions”); 32-2532(A)(4) (prohibiting physician assistants from performing
26   medication abortions); 36-449.03(C)(3) (requiring a physician to be “available” at a clinic at

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1       • A.R.S. § 36-2153 et seq. (2009) (amended 2021) (requiring patients to give
2           informed consent, provided certain information is given 24 hours prior to abortion)
3           (the “24-hour Law”);
4       • A.R.S. § 36-2161 (2010) (amended 2021) (requiring a hospital or health care
5           facility where abortions are performed to submit reports to the Department of
6           Health Services (“Department”) that must include, among other things,
7           demographic information about the patient, informed consent, whether any
8           complications occurred, and fetal tissue disposition).
9           Further, the Legislature has repeatedly amended Title 13 (i.e. criminal code) laws on
10   abortion since 1973. In 1997, the Legislature enacted A.R.S. § 13-3603.01, prohibiting
11   “partial-birth abortion.” Then, in 2011, it passed A.R.S. § 13-3603.02, prohibiting abortions
12   “based on . . . sex or race.” Id. In 2021, it amended A.R.S. § 13-3603.02 to also prohibit abortions
13   “sought solely because of a genetic abnormality of the child,” (the “Reason Law”); Isaacson v.
14   Brnovich, 563 F. Supp. 3d 1024 (D. Ariz. 2021), vacated, No. 21-1609, 2022 WL 2347565 (U.S.
15   June 30, 2022). The Legislature provided an exception for medical emergencies (which is
16   broader than the exception in the Territorial Law) in the race and sex-selective abortion
17
     which medication or aspiration abortions are performed); 36-449.03(D)(5), (G)(4), (5), (8)
18   (requiring a physician to estimate the gestational age of the fetus, to be physically present at, or
     in the vicinity of, a clinic where medication or aspiration abortions are performed, to provide
19   counseling, and to provide specific follow-up); 36-2152(A), (B), (H)(1), (M) (permitting only
20   physicians to provide minors with abortion services); 36-2153(A) (requiring physicians to
     provide counseling), (E) (prohibiting non-physicians from performing “surgical abortion”); 36-
21   2155 (same); 36-2156(A) (requires “the physician who is to perform the abortion” or “the
     referring physician” to facilitate provision of an ultrasound); 36-2158(A) (requiring physicians
22   to provide information “orally and in person”); 36-2160 (“[a]n abortion-inducing drug may be
23   provided only by a qualified physician”); 36-2161(A)(16), (20)–(21), (D) (requiring “the
     physician performing the abortion” to create certain records); 36-2162.01(A), (C) (requiring
24   physicians to complete certain records as either the “referring physician” or the “physician who
25   is to perform the abortion”). The Physician-only Laws also include the following regulations:
     A.A.C. R9-10-1507(B)(2), (3); A.A.C. R9-10-1509(A)(2), (B)(1), (5), (C), (D)(3)(a); A.A.C.
26   R9-10-1510(B)(1); and A.A.C. R9-10-1512(A)(6) and (D)(3)(d).

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1    prohibition and the Reason Law. A.R.S. §§ 13-3603.02(A); 36-2151(9). In the same bill that
2    passed the Reason Law, the Legislature repealed A.R.S. § 13-3604, removing the ability to
3    prosecute people who seek an abortion.
4          A.     2022 Legislative Session
5          During the 2022 legislative session, the Legislature considered but did not pass several
6    bills regarding abortion. Namely, it considered adding a new section, A.R.S. § 13-3604, that
7    would have prohibited medication abortion. H.B. 2811, 55th Leg., 2nd Reg. Sess. (Ariz. 2022).
8    It also considered a privately-enforced ban on abortion after approximately six weeks LMP. S.B.
9    1339, 55th Leg., 2nd Reg. Sess. (Ariz. 2022); H.B. 2483, 55th Leg., 2nd Reg. Sess. (Ariz. 2022).
10         Ultimately, the Legislature instead passed the 15-week-Law, S.B. 1164, which provides
11   that “[e]xcept in a medical emergency, a physician may not perform, induce or attempt to
12   perform or induce an abortion” after 15 weeks LMP. S.B. 1164, 55th Leg., 2nd Reg. Sess. (Ariz.
13   2022). After signing S.B. 1164 into law, Governor Ducey announced that “the law of the land
14   today in Arizona is the 15-weeks’ law . . . and that will remain the law,” even if the Supreme
15   Court decides to overrule Roe v. Wade. 6
16         B.     Dobbs v. Jackson Women’s Health Organization and Aftermath
17         On June 24, 2022, the U.S. Supreme Court upheld Mississippi’s ban on abortions after
18   15 weeks LMP. Dobbs v. Jackson Women’s Health Org., 597 U.S. ___, 142 S. Ct. 2228 (2022).
19   Immediately following the Dobbs decision, the AG released a statement that “[t]he Arizona
20   Legislature passed an identical law to the one upheld in Dobbs, which will take effect in
21   approximately 90 days.” 7 The AG also highlighted his defense of the Reason Law on his Twitter
22
23
24   6
       Howard Fischer, Arizona Gov. Ducey: abortion illegal after 15 weeks, KAWC (Apr. 24, 2022),
     https://www.kawc.org/news/2022-04-24/arizona-gov-ducey-abortion-illegal-after-15-weeks.
25   7
       Ariz. Att’y Gen., Arizona Attorney General Mark Brnovich Applauds Supreme Court Decision
26   to Protect Life (June 24, 2022), https://www.azag.gov/press-release/arizona-attorney-general-
     mark-brnovich-applauds-supreme-court-decision-protect-life.
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         Case 2:21-cv-01417-DLR Document 131-2 Filed 09/30/22 Page 29 of 65




1    account. 8
2           The Republican Caucus of the Senate, however, issued a press release claiming that
3    “effective immediately is ARS 13-3603,” but that S.B. 1164, once it becomes effective, will
4    operate “in addition to ARS 13-3603.” 9 On June 26, 2022, Maricopa County Attorney Rachel
5    Mitchell appeared on a television news program and stated that after Dobbs “[s]ome abortion is
6    going to be illegal in terms of the providers providing it,” that “it is complicated,” that some
7    abortion statutes have been “found to be unconstitutional,” that the Nelson injunction is still in
8    effect, and that this was going to be a “complex question for the courts.” 10 A spokesman for
9    Governor Ducey maintained that “the governor’s intention was clear” when he signed the law
10   that abortions should only be banned after 15 weeks. 11
11          Although the AG did not initially take the position that A.R.S. § 13-3603 would take
12   effect post-Dobbs—and despite being subject to the Nelson injunction—on June 30, 2022, he
13   posted on Twitter that his office had determined that “ARS 13-3603 is back in effect and will
14   not be repealed in 90 Days by SB1164.” The tweet added, “[w]e will soon be asking the court to
15   vacate the injunction which was put in place following Roe v. Wade in light of the Dobbs
16   decision earlier this month.” 12 Two weeks later he filed the present motion.
17   8
         Mark Brnovich (@GeneralBrnovich), Twitter (June 24, 2022, 7:47 AM),
18   https://twitter.com/GeneralBrnovich/status/1540345852715098113.
     9
        See AZSenateRepublicans (@AZSenateGOP), Twitter (June 24, 2022, 11:39 AM),
19   https://twitter.com/AZSenateGOP/status/1540404293315964930?s=20&t=dhnDUIqZVdw0rS
20   Uy6dIVJA.
     10
        Rachel Mitchell weighs in on the past and future of abortion in Arizona, 12News (June 26,
21   2022),       https://www.12news.com/video/news/politics/sunday-square-off/sunday-square-off-
     rachel-mitchell-on-the-past-and-future-of-abortion-in-arizona/75-f43ab60f-2b64-4a38-8ec1-
22   86bb651111c9.
     11
23      Arizona has 2 abortion laws on the books. The governor and legislators can’t agree which
     one is in force, 12News (updated June 29, 2022), https://www.12news.com/article/
24   news/politics/governor-ducey-gop-lawmaker-disagree-abortion-law/75-4154b84e-9211-43c3-
25   8dd7-5a5973b7dc04.
     12
          Mark Brnovich (@GeneralBrnovich), Twitter (June 29, 2022, 3:34 PM),
26   https://twitter.com/GeneralBrnovich/status/1542275229925249024?s=20&t=SnCquVRA2z9oe

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          Case 2:21-cv-01417-DLR Document 131-2 Filed 09/30/22 Page 30 of 65




1                                         LEGAL STANDARD
2           “A party seeking modification or dissolution of a final permanent injunction [under Rule
3    60(b)(5)] bears the burden of establishing a significant change in facts or law warranting revision
4    or dissolution of the injunction because applying it prospectively is no longer equitable.”
5    Tegowski v. Bareiss, No. 2 CA-CV 2018-0155, 2019 WL 2157785, at *2 ¶ 6 (Ariz. App. May
6    17, 2019) (quotation omitted). 13 Under Rule 60(b)(5), “[a] court may recognize subsequent
7    changes in either statutory or decisional law.” Agostini v. Felton, 521 U.S. 203, 215 (1997).
8           The AG makes an alternate argument under Rule 60(b)(6). Mot. at 13. PPAZ does not
9    dispute that Rule 60(b)(5) is the appropriate vehicle for the AG’s request. Therefore, the Court
10   should not reach the Rule 60(b)(6) question. See, e.g., Liljeberg v. Health Servs. Acquisition
11   Corp., 486 U.S. 847, 863 & n.11 (1988) (motions for relief under Rule 60(b)(6) require a
12   showing of “extraordinary circumstances” that is mutually exclusive of grounds covered under
13   the other subdivisions of the Rule); Edsall v. Superior Ct. In & For Pima Cnty., 143 Ariz. 240,
14   243 (1984) (cleaned up) (same).
15                                            ARGUMENT
16   I.     Dobbs Warrants a Modified Judgment Regarding A.R.S. § 13-3603, Not Vacatur.
17          There is no question that the Dobbs decision overturned Roe v. Wade. This affects the
18   Court’s 1973 order enjoining § 13-3603 since that injunction was based on Roe, and PPAZ
19   agrees that a modification of the order is warranted. See Ex. A to Mot. But the effect of Dobbs
20   is only one part of the wholly changed legal landscape in Arizona since 1973. 14 Therefore, this
21
     OmpQB0S1g; Arizona’s Attorney General Says a Pre-1901 Abortion Ban is Enforceable, NPR
22   (June 30, 2022), https://www.npr.org/2022/06/30/1108871251/arizonas-attorney-general-says-
23   pre-1901-abortion-ban-is-enforceable.
     13
        PPAZ cites this memorandum decision under Ariz. Sup. Ct. R. 111(c)(1)(C).
24   14
        The AG asserts without explanation that, post-Dobbs, “[t]he law has therefore returned to what
25   it was prior to Roe, and for Arizona this means the well-reasoned panel opinion in Nelson.” Mot.
     at 10. To the extent the AG means that the court of appeals panel opinion in Nelson is somehow
26   revived, this is simply not the case. “A vacated judgment lacks force or effect and places parties

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1    Court should not unqualifiedly grant the AG’s motion, because simply granting the relief the AG
2    requests, Mot. at 14, is too blunt a remedy as it ignores—and implicitly repeals—other applicable
3    laws.
4            As discussed above and as the AG acknowledges, Mot. at 2, the Legislature has
5    “authorize[d] what had previously been forbidden,” California v. EPA, 978 F.3d 708, 715 (9th
6    Cir. 2020) (quotation omitted) (cited in Mot. at 9), under A.R.S. § 13-3603 by passing the less-
7    restrictive statutes that have governed since 1973 and continue to govern abortion in Arizona. A
8    proper Rule 60(b)(5) analysis, therefore, requires this Court to consider not only the change in
9    decisional law but also statutory law when determining the new bounds of the injunction. See
10   Agostini, 521 U.S. at 215 (“A court may recognize subsequent changes in either statutory or
11   decisional law.”). To do so, this Court must consider the mosaic of laws regulating abortion that
12   have been passed since 1973—including, for example, the Physician-only Laws and most
13   recently the 15-week Law—and reconcile those laws with A.R.S. § 13-3603. This is because
14   when “statutes relate to the same subject matter, [courts] construe them together as though they
15   constitute one law,” Fleming v. State Dep’t of Pub. Safety, 237 Ariz. 414, 417 ¶ 12 (2015), and
16   “whenever possible, [courts must] adopt a construction that reconciles one with the other, giving
17   force and meaning to all statutes involved,” UNUM Life Ins. Co. of Am. v. Craig, 200 Ariz. 327,
18   333 ¶ 28 (2001).
19           Such an analysis is well-within Rule 60(b)(5)’s scope. See, e.g., Agostini, 521 U.S. at 223,
20   238–39 (analyzing under Rule 60(b)(5) whether and to what extent the law had changed since
21   injunction entered); Texas v. Alabama-Coushatta Tribe, 918 F.3d 440, 447 (5th Cir. 2019)
22   (noting that review of district court’s denial of Rule 60(b)(5) relief from permanent injunction
23   “turns on whether a judicial precedent—holding that the Restoration Act and IGRA conflict and
24   that the former, not the latter, applies to the Tribe’s gaming activity—or a later contrary agency
25
     in the position they occupied before entry of the judgment.” Nielson v. Patterson, 204 Ariz. 530,
26   533 ¶ 12 (2003). Because the court of appeals vacated the panel opinion in Nelson on rehearing,
     “nothing remain[s]” of it. Id.
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1    interpretation should control”); Williams v. Butz, 843 F.2d 1335, 1339 (11th Cir. 1988) (noting
2    that it was “a question for the district court on remand” whether the prospective injunctive relief
3    at issue should be “either vacated or modified” to comport with the intent for more recently-
4    promulgated federal regulation), abrogated on other grounds by Blackmun v. Wille, 980 F.2d
5    691 (11th Cir. 1993); see also Sys. Fed’n No. 91, Ry. Emps. Dep’t, AFL-CIO v. Wright, 364 U.S.
6    642, 647 (1961) (“There is . . . no dispute but that a sound judicial discretion may call for the
7    modification of the terms of an injunctive decree if the circumstances, whether of law or fact,
8    obtaining at the time of its issuance have changed, or new ones have since arisen.”). 15
9    II.    A.R.S. § 13-3603 Must be Harmonized with the Legislature’s Subsequently
10          Enacted Scheme of Regulation for Abortion Providers.
11          A.R.S. § 13-3603 and Arizona’s current regulatory scheme for abortion “relate to the
12   same subject matter,” Fleming, 237 Ariz. at 417 ¶ 12, because A.R.S. § 13-3603 prohibits
13   “procur[ing] the miscarriage” unless “necessary to save [the woman’s] life,” and Arizona’s other
14   abortion laws, such as the Physician-only Laws, Post-viability Law, and the Reason Law, would
15   instead allow abortion in a broader range of circumstances. Courts thus must construe all these
16   provisions “together as though they constitute one law.” Fleming, 237 Ariz. at 417 ¶ 12. In doing
17   so and when possible, they should “avoid interpretations that result in contradictory provisions.”
18   Premier Physicians Grp., PLLC v. Navarro, 240 Ariz. 193, 195 ¶ 9 (2016).
19          When interpreting and harmonizing statutes, courts “first look to the plain language of
20   the statute as the most reliable indicator of its meaning.” Advanced Prop. Tax Liens, Inc. v.
21   Sherman, 227 Ariz. 528, 531 ¶ 14 (App. 2011); see also Ridgell v. Ariz. Dep’t of Child Safety,
22   253 Ariz. 61, ¶ 15 (App. 2022). “When an ambiguity or contradiction exists, however, [courts]
23   attempt to determine legislative intent by interpreting the statutory scheme as a whole and
24   consider the statute’s context, subject matter, historical background, effects and consequences,
25
26   15
       As the AG stated, Arizona Rule 60(b)(5) and Fed. R. Civ. P. 60(b)(5), as well as their analyses,
     are identical. See Mot. at 8 n.7.
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1    and spirit and purpose.” UNUM Life Ins. Co. of Am., 200 Ariz. at 330 ¶ 12 (quotation omitted).
2    And, importantly, “when there is conflict between two statutes, the more recent, specific statute
3    governs over the older, more general statute.” In re Guardianship/Conservatorship of Denton,
4    190 Ariz. 152, 157 (1997) (quotation omitted).
5           A.     The Plain Language of Many Arizona Laws Makes Clear that Physicians
6                  May Provide Abortion.
7           The plain language of Arizona’s more recent, more specific statutes regulating abortion
8    supports a harmonized reading of those laws together with A.R.S. § 13-3603. The text of the
9    Physician-only Laws and Post-viability Law, for example, is clear: licensed physicians are
10   allowed to provide abortions up until those gestational ages, while A.R.S. § 13-3603’s
11   prohibition applies to non-physicians. This interpretation properly gives effect to all the
12   Legislature’s enactments. And it stands far apart from the untenable interpretation the AG posits:
13   that A.R.S. § 13-3603—which is over one hundred years old—somehow preempts a host of other
14   subsequently enacted laws and criminalizes nearly all abortions in Arizona, even abortions
15   performed by physicians within the longstanding framework established by the Legislature.
16          Such a reading would not only nullify decades of laws passed by the people’s elected
17   representatives, but it also would conflict with the presumption that the “more recent, specific
18   statute governs over an older, more general statute,” since each of the more recently enacted
19   statutes provide more specific regulations for abortion than A.R.S. § 13-3603. UNUM Life Ins.
20   Co., 200 Ariz. at 333 ¶ 29 (cleaned up). Through this same lens, the Court can also harmonize
21   A.R.S. § 13-3603 and the recently-enacted 15-week Law 16: The Legislature chose, more recently
22
23
     16
        The 15-week Law is not effective until September 24, 2022, which is 90 days after the
     legislative session ended. But because the same analysis applies to the harmonization of that law
24   with A.R.S. § 13-3603, this Court should provide clarity for PPAZ and the public at large as to
     how the 15-week Law should be harmonized once it is in effect. There is nothing to suggest that
25
     it will not become law; no application for serial number to refer the bill has been filed with the
26   Secretary of State. See Initiative, Referendum and Recall Applications, State of Ariz. Sec’y of
     State, https://apps.arizona.vote/info/irr/2022-general-election/33/0 (last updated July 11, 2022).
                                                - 11 -
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1    and specifically, to allow licensed physicians to provide abortions up until 15 weeks LMP, while
2    A.R.S. § 13-3603’s prohibition applies to non-physicians.
3           The AG points to language in S.B. 1164 (the 15-week Law), stating that that law does not
4    “[r]epeal, by implication or otherwise, section 13-3603, Arizona Revised Statutes, or any other
5    applicable state law regulating or restricting abortion,” to support his argument. Mot. at 7. But
6    PPAZ does not argue that A.R.S. § 13-3603 has been repealed; rather, according to Arizona law,
7    S.B. 1164 must be harmonized with more recent legislative enactments. Indeed, the AG ignores
8    the second half of the sentence he cites: it in fact continues by saying that it also does not repeal,
9    “any other applicable state law regulating or restricting abortion” (emphasis added). This clause
10   logically must be read to include, for example, Arizona’s Physician-only Laws. The
11   Legislature’s intent therefore was to preserve the ability to have all its abortion laws coexist. The
12   AG’s argument further ignores the section on “legislative intent” in S.B. 1164, which states that
13   “[t]his legislature intends through this act and any rules and policies adopted hereunder, to
14   restrict the practice of nontherapeutic or elective abortion to the period up to fifteen weeks of
15   gestation.” S.B. 1164, 55th Leg., 2nd Reg. Sess. (Ariz. 2022). Nothing in this unequivocal
16   statement supports the AG’s position that the Legislature intended to impose a near total criminal
17   ban on abortion.
18          B.     Other Indications Similarly Support This Harmonization.
19          Other relevant indicators of statutory intent also support a harmonized reading. For
20   example, the “context of the statute,” Glazer v. State, 237 Ariz. 160, 163 ¶ 12 (2015) (quotation
21   omitted), refers to an interpretation that “give[s] effect to an entire statutory scheme,” Backus v.
22   State, 220 Ariz. 101, 104 ¶ 10 (2009). See also Oaks v. McQuiller, 191 Ariz. 333, 334 ¶ 5 (App.
23   1998) (interpreting a claim brought under a single workers’ compensation statute within “the
24   context of the entire statutory scheme” of workers’ compensation statutes “of which it is a part,”
25   which was designed to protect workers, not tortfeasors). The context of A.R.S. § 13-3603 is that
26   it exists as only one part of a robust regulatory scheme that Arizona has developed for abortion

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1    providers over the last 50 years. In fact, the Legislature enacted some of these more specific laws
2    in the same title and chapter as § 13-3603, which is further evidence that the provisions must be
3    read harmoniously. See supra Section III.
4             Further, the historical background, purpose, and effect of Arizona’s abortion laws,
5    including the imminent 15-week Law, also support this harmonization. Other proposed
6    legislation that was not passed by the Legislature in the most recent session proves that the
7    currently elected lawmakers considered and rejected other more stringent regulations on
8    abortion. As noted above, supra Section III.A, the Legislature considered—but failed to
9    pass—a law criminalizing all medication abortion. H.B. 2811, 55th Leg., 2nd Reg. Sess. (Ariz.
10   2022). It also considered and failed to pass a privately enforced prohibition on abortions after
11   approximately 6 weeks LMP. S.B. 1339, 55th Leg., 2nd Reg. Sess. (Ariz. 2022); H.B. 2483, 55th
12   Leg., 2nd Reg. Sess. (Ariz. 2022). And 2022 was no outlier; indeed, during the prior session in
13   2021, the Legislature considered (but failed to pass) two bills that would have replaced
14   A.R.S. § 13-3603 altogether and made abortion eligible for prosecution under the homicide
15   chapter—proving that the Legislature knew how to pass more restrictive criminal abortion laws.
16   See H.B. 2650, 55th Leg., 1st Reg. Sess. (Ariz. 2021); H.B. 2878, 55th Leg., 1st Reg. Sess. (Ariz.
17   2021).
18            Beyond that, unlike many other state legislatures that passed “trigger laws” under which
19   restrictive abortion laws would immediately spring into place upon the U.S. Supreme Court
20   overruling Roe v. Wade, Arizona’s Legislature did not do so. 17 See, e.g., La. Rev. Stat. § 40:1061
21
     17
        The AG argues that, by recodifying § 13-3603, the 1977 Legislature “took affirmative steps
22   to ensure [its] continuing validity in the event that Roe was overruled.” Mot. at 6–7. But this
23   ignores the actual history of abortion legislation in Arizona. In 1977–78, the Legislature re-
     codified all of Arizona’s criminal statutes in an effort to modernize the criminal code. See, e.g.,
24   State v. Gunnison, 127 Ariz. 110, 111 n.1 (1980) (“[C]itations to criminal statutes in this opinion
25   are to the Arizona Revised Statutes in force prior to 1 October 1978, when the most recent
     criminal code and laws revised pursuant to it became effective.”); State v. Heylmun, 147 Ariz.
26   97, 99 n.1 (App. 1985) (“We also note the definition of ‘offense’ in § 13–105(18) was adopted

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1    (“The provisions of this Act shall become effective immediately upon, and to the extent
2    permitted, by the occurrence of any of the following circumstances: (1) Any decision of the
3    United States Supreme Court which reverses, in whole or in part, Roe v. Wade . . . , thereby,
4    restoring to the state of Louisiana the authority to prohibit abortion.”). 18 This background of the
5    Legislature’s decision to not pass a trigger law or other more restrictive abortion bans, and
6    instead pass the 15 Week Law, demonstrates that the extreme position the AG is taking in his
7    Motion—that nearly all abortions should be banned in the state—is squarely at odds with the
8    intent of the Legislature. Indeed, Governor Ducey and Senate Republicans have stated that the
9    15-week Law will be the operative law upon its effective date in September—a statement that
10   the AG also agreed with until reversing course on Twitter several days later. 19
11           Because a harmonized interpretation of Arizona’s abortion statutes exists (under which
12   meaning can be given to all the Legislature’s enactments), this Court should give them that effect
13   and reject the AG’s request to dissolve the prior judgment of this Court in full without
14   modification (which would instead nullify decades of legislative work and dozens of
15   enactments). Cf. State ex rel. Montgomery v. Brain, 244 Ariz. 525, 531 ¶ 21 (App. 2018) (courts
16   should interpret statutes “sensibly to avoid reaching an absurd conclusion” (quotation omitted)).
17   III.    The Equities Weigh Strongly Against Granting Unqualified Relief from Judgment.
18           Under the “flexible standard” of Rule 60(b)(5), Bredfeldt v. Greene, No. 2 CA–CV 2016–
19   0198, 2017 WL 6422341, at *3 ¶ 10 (Ariz. App. Dec. 18, 2017) (quotation omitted),
20   consideration is given to whether applying the injunction prospectively “is no longer equitable,”
21
22   as part of the revised criminal code in 1978.”). This was therefore not an effort specific to
23   A.R.S. § 13-3606, but instead a wide-ranging code maintenance effort.
     18
        See also Elizabeth Nash & Isabel Guarnieri, 13 States Have Abortion Trigger Bans—Here’s
24   What Happens When Roe is Overturned, Guttmacher Inst. (June 6, 2022),
     https://www.guttmacher.org/article/2022/06/13-states-have-abortion-trigger-bans-heres-what-
25
     happens-when-roe-overturned.
26   19
        Ariz. Att’y Gen., supra note 7 (“The Arizona Legislature passed an identical law to the one
     upheld in Dobbs, which will take effect in approximately 90 days.”); Brnovich, supra note 12.
                                                 - 14 -
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1    Tegowski, 2019 WL 2157785, at *2 ¶ 6 (quoting Ariz. R. Civ. P. 60(b)(5)). 20 Here, PPAZ
2    acknowledges that some modification of the judgment is appropriate, but the AG’s requested
3    relief is not equitable and does not account for the harms at stake.
4           First, the State will not be harmed by modifying the injunction in a manner that
5    harmonizes all of Arizona’s laws, as PPAZ urges. But modifying the injunction to allow the
6    State to “bring[] prosecutions against doctors who perform . . . abortions,” Mot. at 9, 21 would
7    nullify in one fell swoop dozens of duly enacted laws, which have been passed more recently
8    and which deal more specifically with the subject matter—thereby actually preventing the State
9    from carrying out all its duly enacted laws. Cf. Abbott v. Perez, __ U.S. __, 138 S. Ct. 2305,
10   2324 n.17 (2018) (“[I]nability to enforce its duly enacted plans clearly inflicts irreparable harm
11   on the State.”).
12          Second, the real-world result of nullifying dozens of more recently enacted statutes and
13   “return[ing] [the law] to what it was prior to Roe,” Mot. at 10, would impose grievous irreparable
14   harm to thousands of Arizonans of all racial and ethnic backgrounds, 22 reproductive age, 23
15   20
        PPAZ cites the two memorandum decisions in this paragraph under Ariz. Sup. Ct. R.
16   111(c)(1)(C).
     21
        The AG states that the first court of appeals opinion in Nelson “framed the purpose” of the
17   Territorial Law on abortion provision as, in part, “to protect the health and life of pregnant
18   women by keeping them from incompetent abortionists.” Mot. at 4–5 (quoting Nelson, 19 Ariz.
     App. at 144). This concern is clearly no longer valid given that in the past 50 years, Arizona has
19   enacted a complex statutory scheme that regulates abortion and allows only licensed physicians
     to perform abortions. Arizona public data confirms that complications are highly rare and non-
20
     fatal. See Marguerite L.S. Kemp et al., Ariz. Dep’t of Health Servs., Abortions in Arizona: 2020
21   Abortion Report (Sept. 21, 2021), https://azdhs.gov/documents/preparedness/public-health-
     statistics/abortions/2020-arizona-abortion-report.pdf. The Department’s report is a public record
22   of which the Court can take judicial notice. See, e.g., Hernandez v. Frohmiller, 68 Ariz. 242,
23   258 (1949).
     22
        Approximately 40.5% of the abortions among Arizona residents in 2020 were to people who
24   self-identified as “Hispanic or Latinos;” 35.5% Non-Hispanic White; 12.1% Black/African
     American; 2.8% American Indian or Alaska Native; 4.2% Asian or Pacific Islander; and 2.5%
25
     of multiple races. Kemp et al., supra note 19, at 8 tbl.4.
26   23
        The age range for Arizonans receiving abortions in 2020 was 10 to 50 years, with the average
     age being 27.1 years. Kemp et al., supra note 19, at 6.
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1    relational, marital, and familial status 24, and education levels 25 who decide to have abortions.
2    According to the most recent publicly available vital statistics data compiled from reports
3    submitted by PPAZ and other abortion providers in the state to the Department, 13,273 abortions
4    were provided in Arizona in 2020. 26 Publicly available data also confirm that Arizonans decide
5    to have abortions for many different reasons, including because of their medical or personal
6    emotional/mental health; because they were victims of domestic violence, sexual assault, or
7    physical abuse; because they are unprepared to have a child at that time, or do not desire another
8    child; or because of financial, work, career, unemployment, or education reasons that prevent
9    them from being able to have a child. 27 Denying thousands of Arizonans control over their
10   reproductive lives by denying them the ability to have a safe, legal abortion provided by a
11   licensed physician under Arizona’s existing laws—particularly when such a result lacks popular
12   electoral support, as evidenced by the Legislature’s recent enactment of the 15-week
13   law—would gravely harm the public interest.
14                                           CONCLUSION
15          For all these reasons, PPAZ requests that the State’s Rule 60(b) Motion for Relief from
16   Judgment should be granted in part and denied in part. The Court should issue a modified
17   injunction making clear that Defendants Mark Brnovich, Attorney General of the State of
18   Arizona, and Laura Conover, County Attorney of Pima County, Arizona, their successors,
19   agents, servants, employees, attorneys, and all persons in active concert or participation with
20
21
     24
        Close to 15% of abortion patients in 2020 reported they were married, and approximately 55%
22   reported having given birth to one or more children. Kemp et al., supra note 19, at 9 fig.2, 11
23   tbl.5.
     25
        While the education status of almost half of Arizonans who received an abortion in 2020 was
24   unknown, approximately 20% had completed 12 years of education, and approximately 20%
     some postsecondary education. Kemp et al., supra note 19, at 10 fig.3.
25   26
        Kemp et al., supra note 19, at 4. 92.5% of abortions were performed prior to 13 weeks
26   gestational age, id. at 14 tbl.7, and 99.6% in an abortion clinic, id. at 19 tbl.12.
     27
        Kemp et al., supra note 19, at 16 tbl.9.
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1    them, 28 are permanently enjoined from taking any action or threatening to enforce the provisions
2    of A.R.S. § 13-3603 with respect to abortions provided by licensed physicians who are
3    authorized to do so consistent with Arizona’s duly enacted laws and regulations, including
4    A.R.S. § 36-2155 and A.R.S. § 36-2160. A proposed order is submitted simultaneously for the
5    Court’s consideration.
6           RESPECTFULLY SUBMITTED this 20th day of July, 2022.
7                                               COPPERSMITH BROCKELMAN PLC.
8                                               By: /s/ D. Andrew Gaona
9                                                       D. Andrew Gaona
                                                        Kristen Yost
10
                                                PLANNED PARENTHOOD FEDERATION OF AMERICA
11                                                    Diana O. Salgado*
                                                      Sarah Mac Dougall *
12                                                    Catherine Peyton Humphreville*
13                                              *Application for Pro Hac Vice Forthcoming

14                                              Attorneys for Plaintiff Planned Parenthood Arizona,
                                                Inc., successor-in-interest to Plaintiff Planned
15                                              Parenthood Center of Tucson, Inc.

16   ORIGINAL of the foregoing efiled and
     COPY sent by email on July 20, 2022, to:
17
     The Honorable Kellie Johnson
18   Civil Presiding Judge
     Pima County Superior Court
19   Roxanne Lee, Judicial Assistant
     rlee@sc.pima.gov
20
21
     28
        This prohibition therefore applies to the county attorney of each county in Arizona. See
22   A.R.S. § 11-532(A)(1) (county attorneys carry out prosecutions “on behalf of the state.”); see
23   also Crosby-Garbotz v. Fell in & for Cnty. of Pima, 246 Ariz. 54, 60 ¶ 24 (2019) (rejecting the
     State’s argument that there was no mutuality of parties between a state agency and the county
24   attorney because, even though “different legal offices handle different cases,” the State is still “a
     party in both actions” and because the Attorney General’s Office represented the state agency in
25
     the earlier proceedings and “has supervisory authority over county attorneys”
26   (citing A.R.S. § 41-193(A)(4))).

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20   to Clifton E. Bloom, as guardian ad litem of unborn child of
     Plaintiff Jane Roe and all other unborn infants similarly situated
21
     /s/ Diana J. Hanson
22
23
24
25
26

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                         Exhibit A
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                                                                                  (PUBLIC-No. 23,]
                                         AN .A.CT to confirm the np:portionmcnt on_d nmend certain lo.we of the Territory of
                                                           .                 .Arizona.

                                         Be it enacted by the Senate anil House of Representa.tives of the United
                                      States of America in Oongress assembled, That the apportionment of m~m-
                                      bers of the legislative assemblies of the Territory of Arizon~; elected
                                      and convened in the years eightee11- hundrecl and sixty-si.x;, eij~hteen
 i                                    hundred aud sixty-seven, mid eighteen hundred and sixty-eighti, made
                                     by the gover:nor in accordance with the laws of said Territory, be, and
                                      is hereby, declared legal and valid under the organic act..
                                         SEC. 2. And be it further enacted, 'rhat an election for nwmbers of the
\I                                    uext legislative assembly, and for all township, county, and district offi-
                                      cers, and for delegate to the forty-second Congress of the United States,
                                      shall be held upon the Tuesday after the first Monday of N ovem her, in
                                      the year eighteen hundred and seventy, and the governor shall or..der
                                      such election by proclama.tion to be issued not less than two mont:hs pre-
                                      vious to said day. In said proclamation be shall declare the number of
                                      members of each branch of the legislature to which each county or dis-
                                      trict·of said Territory shall be entitled, and such apportionment shall
                                      be based upon the population as shown by the census to be taken in the
                                      year eighteen hundred al).d seYenty, under the law of the United lStates,
                                      and if such census is not completecl in time, then the apportionment
 I.                                   shall be macle according to the population as shown by the best infor-
 \_.                                  mation to be obtained. Said election shall be conducted in conformity
                                      to the laws of the Territory and of Congress; and the term of office of
                               · ··-· all towusllip, county, and district officers shall expire upon the thirty.                                          .
     I
     I                                first day of December, eighteen hundred and -seventy, and that of all
     \                                officers electecl as herein provided shall begin upon the first day of Jan-
                                                                                                                                                         1
 '
                                       uary, eighteen hundred and seventy-one.                                            .
                                          SEC. 3. A.ml be it fitrther enacted, That the persons thus elec:ted to\
     l                                 the next legi_slative assen~bly shall meet at the Capitol on the ,second
                                      Weclnesda.y m January, eighteen hundred and seventy-one.              . -. , · i
                                          SEC, 4. And be it fm·tlwr enacted, That the governor shall :fill ·by ap- 1
                                       pointment all vacancies .in to-wnship, county, or district offices in ·saidl\
                                      Territory, until the thirty-first day of December, eighteen hundred and
                                       seyenty; and until the same time he may remove township, county, and ..
                                      district officers, and fill their places whenever in his judgment the pub-
                                       lic interest will be promoted thereby.                                  · .· '.
                                          SEC. 5, And be it further enacted, That justices of the peace in said
                                       Territory of Arizona shall not have jurisdiction of any matter in con-
                                       troversy where the title ?r boun<laries of land may be in dispute, or
                                       where the debt or sum clmme.d shall exceed three hundred dollars. ·
                                           Approved, March 23, 1870.                                                   ,,                           .,



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                                     CERT.IFIOA.TE.
                                                     _,


                                                                                  TERRITORY OF 'AIUZONA,
                                                                                         Onio& oi' THE               SEORBTABY.
                                 I                                ". 1'


      I, RroIURD 0. MoCoruoox, Secretary of t)ie Ten1tory of Arizona, do hereby certify
    that the HoWELL Con:g, as herein containecl,"js _printed as p888ed by the first Legisla-
    tive Assembly of the· Territory, according to ·the enrolled copy upon file in my office•
                                                                            ..•
                                                                          · WITNESS my hand and the Seal of th~ ·
                                                                                  ·.. Territory, given at Prescott, this
                                                                                   first day of December, A.. D. eight-
                                                                                   een hundred and sixty-four.
                                                                                     I
                                                                                     -it10IURD   0. MoComuox:,
                                                                                              &cretary of ~e .Territory,

                                                                                                                                                    . :</.




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                 1   -: ..:. .            · . . f ~ - . -~    e                               -·--· -·---- -• -~.__\. --~!,-.-•. ~- -- __.: :.___
         , ... . . ,
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                                  THE ORGANIC· ACT.

       AN ACT to provide a temporary government for the Territory o{.A.BrzoNA, and for
          other purposes; .
                              .                                                 .
           l3E rr ENACTED BY THE SENATE AND HousE      OF    REPRESENTATIVES or THE Ulil'ran SuTEs
        OF .A.MErooA, JN CONGRESS ABSEllBLED : That all that part or' the present Territory of                                   I



        New Mexico situate west of a line running due south from the point where the                                             Q
-.~     south-wesi corner of the Territory of Colorado joins the northern. boundary o( the1
        Territory of ,New Mexico to the southern. boundary line of said Territory of New· ·
        Mexico, be, and the same is hereby, erected into a temporary g9vernment by the
        name of the Territory of Arizona : Provided, that nothing contained in the provision!!
         of this act.shall be constr_ued to prohibit the Congress oft~ United ·States from
         d,i:v_id_ing said Territory or changing its boundaries in such manner and at such time
         as it may deem proper: Provided, further, that said goverriment shall be maintained
         and continued until such time as the people residing in said Territory she.II, with t4•~
       . consent of Coµgress, form a State government, republican in form, as prescribed· in ·
         the Constitution of the United States, and apply for and obtain admission into the
         Union as a State, on an equal footing with the original States. .             ·
                  ·--
          . SEo, 2. And be it further enacted, that the 'government hereby authorized shall
         consist of an executive, legislative, and judieial power. The executive power ·s hall·
         be vested in a governor. The l~gislative power shall consist of a council of nine
         members,_and a house of representatives of eighteen. The judicial power aha1l b.e ·
      . vested in a supreme court, to consist of three judges,. and such inferior court.a as the
         Legislative Council may by law prescribe; there shall also be a secretary, a marshal, a
         district-attorney, and a surveyor-general for said Territory, who, together with the
         governor and judges of the supreme court, shall be appointed by .the _President, by ·
         and with the advice and consent of the Senate, and the ~rm of office for each, the
          manner of their appointment, and the powers, duties, and the compensation of the
         ·governor, legislative assembly, judges of the supreme court,. secretary, marshal,
          district attorney, and surveyor-general IU'oresaid, with their clerks, draughtsman1
       1
          deputies, and sergeant-at-arms, shall be such as are conferred upon the -samE) officers
          by the act organizing the Territorial government of ·New- Mexico, which subordinate
          officers_shall be appointed in the same manner, and not exceed in number .t hose
          created by said act; nnd act.a amendatory thereto, together with all legislative
          enactments of the Tenjtory of New Mexico not inconsistent with the provisions 1of
          this act, are hereby extended to and continued in force in the said Territory ,o f
          Arizon&i until repealed or amended by future legislation : Provided, that no salary
          shall be due or paid the officers created by this act until they have entered upon the
          duties of their _respective omces within the said Territory.        ·            ·. · .
                                                                                                        .   -~'.•   .   .

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                                    viii                           THE ORGANIC ACT,

                                      SEO. 3. And be it further enacted, that there shall neither be slavery nor inirq_lun-
                                    tary servitude in the said Territory, oth~rwise than in~ the punishment of crime&,
                                    whereof the parties shall have been duly convicted; and all acts and parts Qf' acts,
                                    either of Congress or of the Territory of New Mexico, establishing, regulati1ng; or
                                    in _any way recognizing the relation of master and slave in said Territory, are ·
                                    hereby repealed.

                                      Approved Fe_bruary 24, 1863.




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Case 2:21-cv-01417-DLR Document 131-2 Filed 09/30/22 Page 48 of 65

54·,                          CODE OF .ARIZONA.,

 viction ·thereof, be punished by imprisonment in the' Territ01iaI prison for·
'a,y term not ex:c~eding three yea~ nor less than ·one year, and be fined it(
a sum not exceeding one thousand do1lars. .                                   ·

 • SEC. 42., If any peroon sha11 willingly and knowingly carry or deliver any-
written challenge, or verbally deliver any message intended as, or purporting
·to be a challenge, 01· shall be present at the fighting of any duel as aforesaid
 as a r.eco~d, or aid.or give countenance thereto, such person being duly con-
 victed thereof, shall be punished by imprisonment in the Territorial prison
 for any term not exceeding three years nor less than one year, and be finecl
 in a sum not exceeding one theusand dollars. . ·                         i

    S~c. 43. If any person shall post another, or in _writing or print snail use-
 any reproachful or contemptuous language to or.concerning 3nother for not
 fighting ·a dnelt or for not sending or accepting a challenge, he shall be'
 imprisoned in the county jail f01· a term 11ot exceeding s1x Jl}ontbs, and fin.ed·
 in any sum not exceeding one thousand dQllars.
 e:--
 - Sx~. 44. If any person shall, without deadly weapoJtS, upon pre-vious con-:.
 cert and agreement, upon any wager, or for money or any other-reward,-
 :fight one wjth another, upon conviction thereof, they or either or any of ·
 them, and all pePsons present aiding and abetting, shall be punished by
 imprisonment in the Territorial p:rison f()l' a tl!rm not e1.rceediog two ye~rs:.
  Should· death ensue to any person in such fight, the person or persona caus-
 ing such death shall be ·punished by imprisonment in the Territorial priE~on
  for a term npt more than ten nor less than three .years! .       · ·

 ; Sm;. 45. Every person who !!hall wilfully and maliciously administer or
 cause to be . administffed to or taken by any person, any poi-son or other
 noxious or destructive substance or liquid, with the intention to cause the
  death of such person, and being thereof ,duly convicted, shall · be punished·
 by imprisonment in the Territorial prison for ·a term not 1ess than ten years,.
 and which may extend to life. And every person who shall administer or
 cause to·be administered Oi" taken, any medicinal substances, or shall use or-
 cause to be used any instrnments whatever, with the intention· to procure
 the miscarriage of ariy woman then being w,\th child, and shall be thereoi
  duly convicted, shall be punished by impriso'ument in the"Territorial prison·
 for a term not less than ~wo year11 nor m<>i•e than five years: Provided,,
  that no physician £:hall be affected ·by the lnst clnuse of this ~ection, who in
  the discharge of bis professional duties deenis it :necessary to :produce· the-
  miscarri~e of any ·woman in order to save het; life.         ·           ··

     SEc. 46. Mayhen:i consists in uniawfully depriving a human being of~-
  member of his or her body, or disfiguring or rendering it useless. lf any
  person shall unlawfully cut out or disable th{l tongu1:, put out an eye,.slit:·
  the noee, ear, or lip, or disable any limb or meniber of another, or shall
  voluntarily nnd of purpose put out an eyff or eyes, every such person shall
  be guilty of mayhem, and on conviction sbaTI be punished by imprisonment
  in the Territorial prison for aterm not less than one nor more t.lmn five years.

     SEC. 47, Rape is the carnal knowlecige of a female, forcibly nnd against
  her will. · E\'ery person of tl1e age of fom-teen years and npwnrds, who
 'shall have carnal knowledge of nny female child under the age of ten years:,·
  either with or wi~hout her consent, shall be adjudged to be guilty of the·
  ci·inie of rape, and sbllll be punished by impiisonment in the Territorial pri- ·
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                  EXHIBIT 5
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12   Attorneys for Defendant Mark Brnovich
     Attorney General of the State of Arizona
13
14
                 IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
15
                            IN AND FOR THE COUNTY OF PIMA
16
17
     PLANNED PARENTHOOD CENTER OF                     Case No.: C127867
18   TUCSON, INC., et al.,
                                                      ATTORNEY GENERAL’S
19                           Plaintiffs,              MOTION FOR RELIEF FROM
                                                      JUDGMENT
20
           v.                                         EXPEDITED CONSIDERATION
21                                                    REQUESTED
     MARK BRNOVICH, Attorney General of the
22   State of Arizona, et al.,                        ORAL ARGUMENT
                                                      REQUESTED
23
                             Defendants,
24
           and
25
     CLIFFTON E. BLOOM, as guardian ad litem of
26   the unborn child of plaintiff Jane Roe and all
     other unborn infants similarly situated,
27
28                           Intervenor.
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 1                                     INTRODUCTION
 2         Pursuant to Arizona Rule of Civil Procedure 60(b)(5) and (6), Defendant the
 3   Arizona Attorney General moves this Court for relief from the “Second Amended
 4   Declaratory Judgment and Injunction Pursuant to the Mandate of the Court of Appeals,
 5   Division II,” which was entered in this case on or about March 27, 1973 (the “Second
 6   Amended Final Judgment,” attached as Exhibit A).
 7         Just weeks after the U.S. Supreme Court issued its opinions in Roe v. Wade, 410
 8   U.S. 113 (1973) and Doe v. Bolton, 410 U.S. 179 (1973), this Court issued the Second
 9   Amended Final Judgment declaring unconstitutional former A.R.S. § 13-211, now
10   numbered as § 13-3603, which makes it a crime for a person to provide “any medicine,
11   drugs or substance” or use “any instrument or other means whatever, with intent thereby
12   to procure the miscarriage” of a “pregnant woman,” unless “necessary to save her life.”
13   The Second Amended Final Judgment declared this statute unconstitutional and enjoined
14   the Attorney General and the Pima County Attorney from “taking any action or
15   threatening to take any action to enforce the provisions … against all persons.” Second
16   Amended Final Judgment at 34.1
17         Relief is warranted because the Second Amended Final Judgment was based
18   solely and expressly on decisions the U.S. Supreme Court has now overruled. See Nelson
19   v. Planned Parenthood Ctr. of Tucson, Inc., 19 Ariz. App. 142, 152 (1973) (Opinion on
20   Rehearing) (relying solely on the U.S. Supreme Court’s decisions in Roe and Doe to
21   vacate prior panel opinion upholding abortion restrictions). While Roe (and Planned
22   Parenthood of Southeastern Pennsylvania v. Casey, 505 U.S. 833 (1992)) previously
23   represented the law on abortion, on June 24, 2022, the U.S. Supreme Court “h[e]ld that
24   the Constitution does not confer a right to abortion” and that “Roe and Casey must be
25   overruled, and the authority to regulate abortion must be returned to the people and their
26   elected representatives.” Dobbs v. Jackson Women’s Health Org., 142 S. Ct. 2228, 2279
27   1
       The Second Amended Final Judgment also declared unconstitutional and enjoined
28   former A.R.S. § 13-212, renumbered in 1977 as A.R.S. § 13-3604, which applied to a
     woman who obtained an abortion, and former A.R.S. § 13-213, renumbered in 1977 as
     A.R.S. § 13-3605. This Motion does not seek relief from judgment as to these statutes.
                                                -1-
     Case 2:21-cv-01417-DLR Document 131-2 Filed 09/30/22 Page 52 of 65




 1   (2022). Therefore, the sole basis for the Second Amended Final Judgment—the U.S.
 2   Supreme Court’s recognition of a federal right to abortion—has been “overruled,” and
 3   this Court must now grant relief from that judgment consistent with the U.S. Supreme
 4   Court’s directive that “the authority to regulate abortion must be returned to the people
 5   and their elected representatives.” Id.
 6          The Arizona Legislature has never acquiesced in the conclusion that former § 13-
 7   211 is unconstitutional.    Rather, in anticipation that the U.S. Supreme Court could
 8   overrule Roe, the Legislature has repeatedly preserved Arizona’s statutory prohibition on
 9   performing abortions except to save the life of the mother. Four years after the Second
10   Amended Final Judgment, the Legislature enacted H.B. 2054, which re-codified § 13-211
11   as § 13-3603. See 1977 Ariz. Sess. Laws ch. 142, § 99 (1st Reg. Sess.). And since then,
12   Arizona courts have recognized this 1977 law as “re-enact[ing]” or “enact[ing]” this
13   statutory provision anew. Summerfield v. Super. Ct., 144 Ariz. 467, 476 (1985); Vo v.
14   Super. Ct., 172 Ariz. 195, 201 (App. 1992). And just this year, even while enacting a 15-
15   week gestational age limitation on abortions prior to the issuance of the Dobbs opinion
16   (when it was uncertain how the Supreme Court would rule), the Legislature also
17   expressly included in the session law that the 15-week gestational age limitation does not
18   “[r]epeal, by implication or otherwise, section 13-3603, Arizona Revised Statutes, or any
19   other applicable state law regulating or restricting abortion.” See 2022 Ariz. Sess. Laws
20   ch. 105, § 2 (2d Reg Sess.).
21          This Motion seeks relief under Arizona Rule of Civil Procedure 60(b)(5) and (6)
22   from prospective application of the declaratory and injunctive relief in the Second
23   Amended Final Judgment as applied to A.R.S. § 13-3603.              This is consistent with
24   principles of equity, the Legislature’s intent in re-enacting this provision following the
25   Second Amended Final Judgment, and the Supreme Court’s express return in Dobbs of
26   the authority to regulate abortion to the people and their elected representatives.
27
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 1                    FACTUAL AND PROCEDURAL BACKGROUND
 2          Leading up to Roe, Arizona repeatedly enforced the prohibitions in former § 13-
 3   211.   There are multiple published opinions stemming from convictions under this
 4   statute. See, e.g., State v. Wahlrab, 19 Ariz. App. 552 (1973) (noting Wahlrab was
 5   convicted under § 13-211 but vacating conviction because “although [the court]
 6   disagree[s] with the [Roe v.] Wade opinion we are bound by the U.S. Supreme Court
 7   decision”); State v. Keever, 10 Ariz. App. 354 (1969) (reversing conviction under § 13-
 8   211 based on reasonable doubt but not questioning the law’s constitutionality); State v.
 9   Boozer, 80 Ariz. 8 (1955) (affirming conviction under § 13-211, as previously codified in
10   1939 Code § 43-301); Hightower v. State, 62 Ariz. 351 (1945) (same); Kinsey v. State, 49
11   Ariz. 201 (1937) (affirming conviction under § 13-211, as previously codified in 1928
12   Code § 4645).2 Similarly, in the instant case, the former Pima County Attorney testified
13   during deposition that § 13-211 “would be enforced as any other criminal statute[],” and
14   “during oral argument, in response to questioning by the court, the deputy county
15   attorney advised the court that the office of the County Attorney for Pima County will
16   uphold the statutes and that prosecution is always a matter of proof.”            Planned
17   Parenthood Ctr. of Tucson, Inc. v. Marks, 17 Ariz. App. 308, 312 (1972).
18          Against this backdrop of enforcement, Planned Parenthood Center of Tucson, Inc.
19   (“Planned Parenthood”); ten named physicians (“Named Physicians”); and “Jane Doe,”
20    an anonymous pregnant woman who wished to have an abortion, filed the Complaint in
21   this case on July 22, 1971. See Exhibit B (the “Complaint”). The Complaint sought
22   declaratory and injunctive relief, alleging that “except for the risk of criminal
23   prosecution,” Planned Parenthood would refer some of its clients to physicians in order
24   that abortions could be performed “although the procedures were not necessary to save
25   the lives of such pregnant women,” and Named Physicians “would respectively perform
26
     2
27      Section 13-211 can be traced back to section 243 of the 1901 penal code, and when the
     people adopted the Arizona Constitution, they provided that “[a]ll laws of the Territory of
28   Arizona now in force, not repugnant to this Constitution, shall remain in force as laws of
     the State of Arizona until they expire by their own limitations or are altered or repealed
     by law … .” Ariz. Const. art. 22, § 2.
                                                 -3-
     Case 2:21-cv-01417-DLR Document 131-2 Filed 09/30/22 Page 54 of 65




 1   or arrange for the performance of abortions.” Nelson, 19 Ariz. App. at 143. The named
 2   Defendants are the Arizona Attorney General and the Pima County Attorney. Final
 3   Judgment at 2.3 In addition, intervention was granted for a Guardian ad Litem of the
 4   unborn child of plaintiff Jane Roe and all other unborn infants similarly situated. Id.
 5          The case proceeded to trial in late 1971. Second Amended Final Judgment at 1.
 6   After trial, the case was dismissed for lack of a justiciable controversy, but the Court of
 7   Appeals reversed, and ordered this Court to “proceed to a resolution of the case on its
 8   merits.” Marks, 17 Ariz. App. at 313. This Court then filed a memorandum opinion on
 9   September 29, 1972, which held
10          that a fetus is not a person entitled to Fourteenth Amendment rights and
            does not have constitutionally protected rights; that A.R.S. § 13-211 is
11          overbroad and violates the fundamental right of marital and sexual privacy
            of women guaranteed by the Ninth and Fourteenth Amendments to the
12          United States Constitution; and that A.R.S. § 13-211 also violates the
13          constitutional rights of physicians who attend to the medical needs of
            pregnant women because it denies each physician his right to practice
14          medicine in a manner which permits him to fulfill his professional ethical
            obligation to his patient.
15
     Nelson, 19 Ariz. App. at 143. This Court entered an Amended Declaratory Judgment and
16
     Injunction in favor of Planned Parenthood and the Named Doctors on October 2, 1972
17
     (Exhibit C).4 The Attorney General, Pima County Attorney, and Guardian ad Litem then
18
     appealed to the Court of Appeals. Second Amended Final Judgment at 2.
19
            The Court of Appeals issued a well-reasoned opinion that reversed on all grounds
20
     and upheld the challenged laws as constitutional. Nelson, 19 Ariz. App. at 14250. As a
21
     threshold matter, the Court of Appeals made clear that its analysis did not hinge on
22
     whether a fetus is a person entitled to Fourteenth Amendment rights but rather framed the
23
     purpose of the Arizona abortion statutes as “to embody the belief in the right to life and
24
     the necessity of preserving human life even when the existence of ‘human life’ is
25
     3
26      A similar complaint was filed in Maricopa County against the Attorney General and
     Maricopa County Attorney (Maricopa County Superior Court Case No. C249461).
27   Neither the Court of Appeals Opinions in Nelson and Marks nor the Second Amended
     Final
     4
           Judgment say anything about that case or the Maricopa County Attorney.
28      By this time, “Jane Roe” had been substituted for “Jane Doe,” Nelson, 19 Ariz. App. at
     143, but the Second Amended Final Judgment dismissed Jane Roe entirely from the
     action. Second Amended Final Judgment at 4.
                                                 -4-
     Case 2:21-cv-01417-DLR Document 131-2 Filed 09/30/22 Page 55 of 65




 1   problematic to some degree, and to protect the health and life of pregnant women by
 2   keeping them from incompetent abortionists … .” Id. at 144; see also id. at 147 (court
 3   need not decide whether a fetus is a “person” under the U.S. and Arizona Constitutions).
 4          The court then addressed six different challenges to the statute brought by
 5   Plaintiffs. The court first rejected Plaintiffs’ vagueness challenge, relying on United
 6   States v. Vuitch, 402 U.S. 62 (1971) and other cases. Nelson, 19 Ariz. App. at 14647.
 7   Second, it rejected the argument that the abortion statutes violate women’s rights under
 8   the Ninth Amendment to the U.S. Constitution. Id. at 147. Third, it rejected Plaintiffs’
 9   overbreadth challenge, which was brought on the ground that the law does not make
10   exceptions for cases of rape or a “defective” fetus. Id. at 149. The court said “the
11   legislature can legitimately decide that the primary consideration is the protection of
12   life[.]” Id. Fourth, the court rejected the “claimed infringement of rights to conduct
13   family planning, choice of medical treatment and freedom to follow the dictates of their
14   profession … in the face of th[e Legislature’s] valid exercise of the police power.” Id. at
15   150. Fifth, the court rejected the argument that § 13-211 violates the establishment of
16   religion or free exercise of religion. Id. Sixth, the court rejected the argument that the
17   statute discriminates against poor women. Id. The court concluded as follows:
18         [W]e are unable to find that appellees have sustained their burden of
           overcoming the presumption in favor of constitutionality. After every
19         intendment has been indulged by us in favor of the validity of the statute we
           are also not satisfied beyond a reasonable doubt that the statutes are
20         unconstitutional.
21         Appellees’ complaints against the abortion statutes are peculiarly within the
22         field occupied by the legislature and any problem concerning abortion
           should be solved by that body. We can only reiterate that we are not a
23         super-legislature.

24         In view of our disposition of this case we need not decide the cross-appeal.
           The judgment of the trial court is reversed, the case is remanded and the
25         trial court is ordered to enter a judgment in favor of appellants and against
           appellees denying injunctive relief and upholding the constitutionality of
26         the statutes.
27   Id.
28


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     Case 2:21-cv-01417-DLR Document 131-2 Filed 09/30/22 Page 56 of 65




 1          But less than three weeks later, the U.S. Supreme Court issued Roe and Doe. The
 2   court of appeals then issued an Opinion on Rehearing, which vacated its prior panel
 3   opinion on the sole and express ground of the binding nature of these two cases. Nelson,
 4   19 Ariz. App. at 152; see also U.S. Const. art. VI (“The Constitution … of the United
 5   States …. shall be the supreme law of the land; and the judges in every state shall be
 6   bound thereby… .”); McLaughlin v. Jones, 243 Ariz. 29, 35 ¶25 (2017) (“The United
 7   States Supreme Court’s interpretation of the Constitution is binding on state court
 8   judges… .”).5 The combined effect of the panel opinion (Nelson, 19 Ariz. App. at
 9   14250) and Opinion on Rehearing (id. at 152), taken as a whole, was to affirm the prior
10   judgment of this Court on the sole ground of the newly recognized federal constitutional
11   right to abortion. See id. at 152 (using word “[a]ccordingly” to modify the vacatur of the
12   prior panel opinion; expressly and solely basing its reasoning on the court being “bound
13   by” U.S. Supreme Court decisions interpreting the Constitution; and providing no other
14   reasoning or suggestion that the Court of Appeals had changed its position on the other
15   issues presented on appeal and addressed in the prior panel opinion).
16          After the Opinion on Rehearing, further appellate review was denied and
17   jurisdiction was returned to this Court, which then entered the Second Amended Final
18   Judgment “[p]ursuant to the Mandate of the Court of Appeals, Division II.” Second
19   Amended Final Judgment at 1. The Second Amended Final Judgment declared former
20   A.R.S. §§ 13-211 through -213 unconstitutional. Second Amended Final Judgment at 3.
21   It also permanently enjoined the Arizona Attorney General and Pima County Attorney,
22   and all successors, agents, servants, employees, attorneys, and all persons in active
23   concert or participation with them, from taking any action or threatening to take any
24   action to enforce the provisions of A.R.S. §§ 13-211 through -213. Second Amended
25   Final Judgment at 4.
26          The Legislature, however, did not acquiesce in the declaration that these laws were
27   unconstitutional but rather took affirmative steps to ensure their continuing validity in the
28   5
        The Opinion on Rehearing also directed this Court to modify its decision so “that the
     statutes in question are unconstitutional as to all.” Nelson, 19 Ariz. App. at 152.
                                                 -6-
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 1   event that Roe was overruled. In 1977, the Legislature re-enacted former § 13-211 as
 2   § 13-3603, former § 13-212 as § 13-3604, and former § 13-213 as § 13-3605. See 1977
 3   Ariz. Sess. Laws ch. 142, § 99 (1st Reg. Sess.).6 The Arizona courts have at least twice
 4   expressly recognized this 1977 law as “re-enact[ing]” or “enact[ing]” the new statutes.
 5   See Summerfield, 144 Ariz. at 476; Vo, 172 Ariz. at 201. In 2021, the Legislature
 6   repealed § 13-3604, indicating its intent not to continue criminalizing abortion as to the
 7   mother of an unborn child. See 2021 Ariz. Laws ch. 286, § 3 (1st Reg. Sess.). But the
 8   Legislature did not likewise repeal § 13-3603. And this year, even while it enacted a 15-
 9   week gestational age limitation on abortions prior to the issuance of the Dobbs opinion
10   (when it was uncertain how the Supreme Court would rule), the Legislature also
11   expressly included in the session law that the 15-week gestational age limitation does not
12   “[r]epeal, by implication or otherwise, section 13-3603, Arizona Revised Statutes, or any
13   other applicable state law regulating or restricting abortion.” See 2022 Ariz. Sess. Laws
14   ch. 105, § 2 (2d Reg Sess.).
15          Then on June 24, 2022, the U.S. Supreme Court issued its opinion in Dobbs,
16   overruling Roe and thereby paving the way for § 13-3603 to continue in effect
17   unimpeded, as the Legislature intended. In Dobbs, the Supreme Court “h[e]ld that the
18   Constitution does not confer a right to abortion. Roe and Casey must be overruled, and
19   the authority to regulate abortion must be returned to the people and their elected
20   representatives.” Dobbs, 142 S. Ct. at 2279. Dobbs further recognized that “States may
21   regulate abortion for legitimate reasons, and when such regulations are challenged under
22   the Constitution, courts cannot ‘substitute their social and economic beliefs for the
23   judgment of legislative bodies.’” Id. at 2283–84. “These legitimate interests include
24   respect for and preservation of prenatal life at all stages of development[.]” Id. at 2284
25   (citing Gonzales v. Carhart, 550 U.S. 124, 157–58 (2007)). Ultimately, Dobbs held
26
27   6
        The first 38 sections of 1977 Ariz. Sess. Laws ch. 142 repeal many provisions in
28   Title 13. But nowhere among the repeals are former §§ 13-211 through -213. Instead,
     the Legislature intentionally transferred these statutes for placement in Chapter 36 of
     Title 13, “Family Offenses.”
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 1   “[t]he Constitution does not prohibit the citizens of each State from regulating or
 2   prohibiting abortion.” Id.
 3          This Motion seeks to set aside the Second Amended Final Judgment’s permanent
 4   injunction, as applied to A.R.S. § 13-3603, prospectively because such prospective
 5   application is no longer equitable, and it seeks to similarly eliminate any prospective
 6   effect of the declaratory judgment as to that statute.
 7                                          ARGUMENT
 8   I.     Relief from the Second Amended Final Judgment is warranted under Rule
            60(b)(5)
 9
            Relief from the Second Amended Final Judgment is warranted here under Rule of
10
     Civil Procedure 60(b)(5).
11
            A.     The Rule 60(b)(5) Standard
12
            Rule 60(b)(5) permits relief where “applying [the judgment] prospectively is no
13
     longer equitable.” This portion of Rule 60(b)(5), which allows a judgment to be set aside
14
     when prospective application is no longer equitable, “encompasses the traditional power
15
     of a court of equity to modify its decree in light of changed circumstances.” Frew ex rel.
16
     Frew v. Hawkins, 540 U.S. 431, 441 (2004); see also Wright & Miller, Judgment
17
     Satisfied or No Longer Equitable, 11 Fed. Prac. & Proc. Civ. § 2863 (3d ed.).7 “[I]t is
18
     appropriate to grant a Rule 60(b)(5) motion when the party seeking relief from an
19
     injunction or consent decree can show ‘a significant change either in factual conditions or
20
     in law.’” Agostini v. Felton, 521 U.S. 203, 215 (1997). Under Rule 60(b)(5), “[a] court
21
     may recognize subsequent changes in either statutory or decisional law.” Id.; see also
22
     Horne v. Flores, 557 U.S. 433, 447 (2009) (Rule 60(b)(5) relief appropriate when a
23
     significant change in either factual conditions or in law renders continued enforcement of
24
     the judgment detrimental to the public interest). In fact, “[a] court errs when it refuses to
25
     modify an injunction or consent decree in light of such changes.” Agostini, 521 U.S. at
26
     7
27      Because the grounds in Arizona Rule 60(b) are “identical” to Federal Rule of Civil
     Procedure 60(b), Arizona courts “give ‘great weight’ to federal court interpretations of
28   this rule.” Bredfeldt v. Greene, No. 2 CA-CV 2016-0198, 2017 WL 6422341, at *2 ¶6
     (Ariz. Ct. App. Dec. 18, 2017) (quoting Estate of Page v. Litzenburg, 177 Ariz. 84, 93
     (App. 1993)).
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 1   215. The U.S. Supreme Court has even rejected the notion that Rule 60(b)(5) does not
 2   apply where a movant uses it “not as a means of recognizing changes in the law, but as a
 3   vehicle for effecting them.” Id. at 238; id. at 239 (granting “a party’s request under Rule
 4   60(b)(5) to vacate a continuing injunction entered some years ago in light of a bona fide,
 5   significant change in subsequent law”).
 6          Similarly, in Edsall v. Superior Court, the Arizona Supreme Court recognized that
 7   Rule 60(b)(5) can be used to reopen final orders where there has been “a change in the
 8   law affecting substantial rights of a litigant.” 143 Ariz. 240, 243 (1984). And the Ninth
 9   Circuit has “recognized as settled that ‘[w]hen a change in the law authorizes what had
10   previously been forbidden, it is an abuse of discretion for a court to refuse to modify an
11   injunction founded on superseded law.’” California v. EPA, 978 F.3d 708, 715 (9th Cir.
12   2020) (quoting Toussaint v. McCarthy, 801 F.2d 1080, 1090 (9th Cir. 1986)); see also
13   Prudential Ins. Co. of Am. v. Nat’l Park Med. Ctr., Inc., 413 F.3d 897, 903 (8th Cir.
14   2005) (“When prospective relief is at issue, a change in decisional law provides sufficient
15   justification for Rule 60(b)(5) relief.”).
16          B.     Prospective application of the Second Amended Final Judgment is no
                   longer equitable following Dobbs
17
            Here, the Attorney General is not using Rule 60(b)(5) as a vehicle for effecting
18
     legal change; that change has unequivocally occurred in Dobbs, which overruled Roe and
19
     Casey and abrogated numerous other cases recognizing a federal right to abortion.
20
     Dobbs, 142 S. Ct. at 2242. Dobbs, therefore, clearly represents a significant change in
21
     the law affecting substantial rights of the State (acting through the enjoined prosecutors),
22
     as well as the unborn.
23
            It is beyond dispute that Dobbs represents a change in the very law that was the
24
     sole and express basis for the Second Amended Final Judgment. Before Roe, Arizona
25
     had repeatedly enforced the criminal ban (codified then as § 13-211) on performing
26
     abortions other than to save the life of the mother by bringing prosecutions against
27
     doctors who performed such abortions. See supra at page 3 (citing cases). And less than
28
     three weeks before Roe, the Arizona Court of Appeals held, in a well-reasoned and

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 1   thorough opinion, that this law was constitutional. Nelson, 19 Ariz. App. at 14250.
 2   However, Roe’s recognition of a federal right to abortion changed everything. The
 3   Arizona Court of Appeals entered the Opinion on Rehearing, which summarily reversed
 4   its prior panel opinion upholding §§ 13-211 to -213, and this Opinion on Rehearing was
 5   based solely on the newly-recognized federal right in Roe.
 6         That Roe was the sole impediment to enforcement of Arizona’s abortion statute is
 7   further supported by other Court of Appeals decisions addressing the abortion statutes.
 8   See, e.g., Wahlrab, 19 Ariz. App. at 553 (citing Nelson and vacating conviction because
 9   “although [the court] disagree[s] with the [Roe v.] Wade opinion we are bound by the
10   U.S. Supreme Court decision”); see also State v. New Times, Inc., 20 Ariz. App. 183, 185
11   (1973) (citing Nelson and Wahlrab, noting that the issue of the constitutionality of the
12   state laws “at this juncture, is essentially moot,” and reasoning the court “need only say
13   that we are bound by the conclusions previously reached by the courts, most notably the
14   [U.S.] Supreme Court”). Years later, the Court of Appeals similarly “note[d] that the
15   abortion statutes, as currently codified, may be unenforceable under the constitutional
16   principles articulated in Roe….” Vo, 172 Ariz. at 202 n.6 (citing Wahlrab and Nelson).
17         On remand in this case, the Court expressly amended its prior judgment based
18   exclusively on the Opinion on Rehearing and entered the Second Amended Final
19   Judgment pursuant to the Court of Appeals’ mandate, thereby enjoining the Attorney
20   General and Pima County Attorney from taking any further action to enforce § 13-211.
21   At that time, the Court also expanded the scope of persons covered by the injunction to
22   include not only the plaintiffs and their patients, but all persons—again based expressly
23   on the Opinion on Rehearing.
24         But when, on June 24, 2022, Dobbs overruled Roe, the Supreme Court returned
25   the issue to the democratic process—specifically the States acting through their elected
26   representatives or the people themselves. The law has therefore returned to what it was
27   prior to Roe, and for Arizona this means the well-reasoned panel opinion in Nelson.
28   Simply put, that opinion held § 13-211 was constitutional, and it rejected the various


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 1   challenges brought by Plaintiffs here. That opinion is even more clearly correct given the
 2   reasoning in Dobbs. There has thus been a change in the law, i.e., a return to the pre-Roe
 3   understanding of the absence of a federal right to abortion. This change “authorizes what
 4   had previously been forbidden,” California, 978 F.3d at 715 (citation omitted), which is
 5   the enforcement of the criminal prohibition on performing abortions except to save the
 6   life of the mother, and it would be “an abuse of discretion for [this] court to refuse to
 7   modify [the] injunction founded on superseded law.” Id.
 8          Moreover, this change in the law and facts “affect[s] substantial rights of a
 9   litigant.” Edsall, 143 Ariz. at 243. There are two classes of litigants in this action whose
10   substantial rights are affected. First, the Attorney General and Pima County Attorney are
11   enjoined from taking any action to enforce § 13-211, a duly-enacted statute of the
12   Arizona Legislature. When prosecutors act to enforce state law they act on behalf of the
13   state to enforce its sovereign interests in carrying out its criminal laws. In fact, the
14   Plaintiffs made that precise allegation in this case. See Marks, 17 Ariz. App. at 312
15   (“The petitioners were permitted to amend the complaint to include an allegation that the
16   State of Arizona, through its prosecuting authorities, intended to enforce the abortion
17   statutes through appropriate action.”). Erroneously depriving a State of the ability to
18   enforce its laws, even for a brief period, is a form of irreparable injury. See Maryland v.
19   King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in chambers) (brackets and citation
20   omitted) (“Any time a state is enjoined by a court from effectuating statutes enacted by
21   representatives of its people, it suffers a form of irreparable injury.”); Abbott v. Perez,
22   138 S. Ct. 2305, 2324 n.17 (2018) (“[T]he inability to enforce its duly enacted plans
23   clearly inflicts irreparable harm on the State”). Thus the continued existence of the
24   Second Amended Final Judgment going forward affects the substantial rights of the State,
25   through its enjoined prosecutors.
26          Second, the unborn are also a represented party in this case, and their substantial
27   rights are clearly affected.   This Court granted intervention by Cliffton Bloom as
28   Guardian ad Litem of the unborn children affected by abortion. Second Amended Final


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 1   Judgment at 1-2. And the Legislature has made clear that abortion affects the substantial
 2   rights of the unborn. See Summerfield, 144 Ariz. at 476 (citing several Arizona statutes
 3   to support the conclusion that “we also discern, in other areas of the law, a legislative
 4   goal of protecting the fetus”); Vo, 172 Ariz. at 201 n.6 (relying upon A.R.S. §§ 13-3603
 5   to -3605 for the purpose of “ascertaining the scope of the protection the legislature
 6   intended to afford a fetus in enacting the existing criminal law”).      Further, in 2021 the
 7   Legislature adopted an interpretation provision, § 1-219, which similarly informs that
 8   intervention should be permitted in this civil action.8 Clearly the substantial rights of this
 9   litigant are also affected by the change of law in Dobbs.
10          Plaintiffs’ prior arguments regarding overbreadth and the right of physicians to
11   practice their chosen profession do not establish that A.R.S. § 13-3603 is unconstitutional
12   and therefore do not provide bases to deny relief now. The Court of Appeals specifically
13   addressed—and rejected—those arguments. See Nelson, 19 Ariz. App. at 149–50. The
14   overbreadth argument was based on the lack of exceptions for rape and “defective
15   fetuses.” The Mississippi abortion law in Dobbs did not contain an exception for rape,
16   and yet the U.S. Supreme Court upheld the law as constitutional. See 142 S. Ct. 2284; id.
17   at 2344 (Breyer, Sotomayor, and Kagan, JJ., dissenting) (“The Mississippi law at issue
18   here, for example, has no exception for rape or incest[.]”). And nothing outside of the
19   decisions in Roe and Casey and their now-abrogated progeny cast doubt on the panel
20   opinion’s conclusion that “[i]t is . . . within the province of the state legislature to weight
21   the competing interests and enact, as the legislature has done in this state, a statute which
22   prohibits all abortions except those necessary to save the life of the mother.” Nelson, 19
23   Ariz. App. at 150. The right to practice one’s profession argument is akin to an argument
24   under Lochner, and the argument clearly fails under rational basis review. See Conn v.
25   Gabbert, 526 U.S. 286, 291–92 (1999) (explaining that the right to choose one’s field of
26
27   8
       The District of Arizona has preliminarily enjoined certain Arizona government officials
28   from “enforcing A.R.S. § 1-219 as applied to abortion care that is otherwise permissible
     under Arizona law.” Isaacson v. Brnovich, —F. Supp. 3d—, 2022 WL 2665932, *10 (D.
     Ariz. July 11, 2022). That preliminary injunction has no application here.
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 1    private employment is “a right which is nevertheless subject to reasonable government
 2    regulation”).
 3           Finally, this motion is made in a “reasonable time” under Rule 60(c)(1). “[W]here
 4    a change in law is the basis for [a Rule 60(b)] motion, the date of the challenged order
 5    provides little guidance in measuring its timeliness; valid grounds for reconsideration
 6    may arise long after a final judgment has been entered.” Bynoe v. Baca, 966 F.3d 972,
 7    980 (9th Cir. 2020). Timeliness in this instance is measured “as of the point in time when
 8    the moving party has grounds to make [a Rule 60(b)] motion, regardless of the time that
 9    has elapsed since the entry of judgment.” Id. This Motion is plainly timely.
10 II.       Alternatively, relief from the Second Amended Final Judgment is warranted
             under Rule 60(b)(6)
11
             In the alternative, if the Court does not grant relief under Rule 60(b)(5), relief is
12
      warranted under Rule 60(b)(6) because the overruling of Roe is an extraordinary
13
      circumstance that justifies relief. See Kemp v. United States, 142 S. Ct. 1856, 1865
14
      (2022) (Sotomayor, J., concurring) (Rule 60(b)(6) is available “to reopen a judgment in
15
      extraordinary circumstances, including a change in controlling law” (citing cases)); see
16
      also Edsall, 143 Ariz. at 243 (Rule 60(b)(5) and (6) “have been used liberally in
17
      reopening otherwise final court orders where there has been a change in the law affecting
18
      substantial rights of a litigant.”). While the relief requested fits squarely within the
19
      contours of Rule 60(b)(5), if the Court disagrees, relief under Rule 60(b)(6) is equally
20
      appropriate here.
21
     III.    Notice Regarding Rule 25 Motions
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             In the years since entry of the Second Amended Final Judgment, there have been
23
      changes affecting the parties to this case that will be reflected in concurrent notices and a
24
      motion filed under Rule 25. On information and belief, the interest of Plaintiff Planned
25
      Parenthood has transferred to its current successor-in-interest, Planned Parenthood of
26
      Arizona, Inc. (“PPAZ”).9 On information and belief, of the ten Named Physicians, six
27
28    9
         The undersigned received an email from PPAZ’s counsel indicating PPAZ’s desire to
      be served and participate in this action. Consistent with that request, the Attorney General
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 1   have passed away, and the Attorney General will file a statement noticing death under
 2   Rule 25(a)(2). On information and belief, the other four Named Physicians are still alive,
 3   although none currently hold active physician licenses in Arizona. The current Attorney
 4   General and Pima County Attorney are substituted automatically as defendants under
 5   Rule of Civil Procedure 25(d). On information and belief, the Intervenor Cliffton E.
 6   Bloom, as Guardian ad Litem of the unborn child of plaintiff Jane Roe and all other
 7   unborn infants similarly situated, has passed away, and the Attorney General is filing a
 8   motion under Rule 25(a)(1) to substitute Dr. Eric Hazelrigg, an OB/GYN and Medical
 9   Director of Choices Pregnancy Centers of Greater Phoenix, Inc., as Guardian ad Litem.
10                                       CONCLUSION
11         For the foregoing reasons, Defendant the Attorney General respectfully requests
12   that this Court grant relief under Arizona Rule of Civil Procedure 60(b)(5) or 60(b)(6)
13   from prospective application of the declaratory and injunctive relief contained in the
14   Second Amended Final Judgment as applied A.R.S. § 13-3603.
15         RESPECTFULLY SUBMITTED this 13th day of July, 2022.
16
                                                 MARK BRNOVICH
17                                               ATTORNEY GENERAL
18
                                               By: /s/ Brunn (Beau) W. Roysden III
19                                             Brunn (Beau) W. Roysden III (No. 028698)
20                                             Michael S. Catlett (No. 25238)
                                               Kate B. Sawyer (No. 34264)
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                                               beau.roysden@azag.gov
25                                             acl@azag.gov
                                               Attorneys for Defendant Mark Brnovich
26
                                               Attorney General of the State of Arizona
27
28
     will serve PPAZ with a copy of this Motion and will cooperate to have the current
     successor-in-interest of Plaintiff Planned Parenthood substituted in as a party.
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 1                                CERTIFICATE OF SERVICE

 2   I certify that on July 13, 2022, the original of the foregoing was electronically filed with
     the Clerk of the Court for Pima County Superior Court via TurboCourt, and
 3
     electronically delivered to:
 4
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14   Planned Parenthood Center of Tucson, Inc.
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25
26   Attorneys for Eric Hazelrigg, M.D., proposed Successor-in-Interest to Cliffton E. Bloom,
     as guardian ad litem of unborn child of Plaintiff Jane Roe and all other unborn infants
27   similarly situated
28
     By: /s/ Brunn W. Roysden III
